Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 1 of 85 PageID: 22113




                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY


     IMMUNEX CORP., et at.,
                                                               Civil Action No.: 16-1118 (CCC)
                      V.

                                                                         OPINION
     SANDOZ INC., et al.


   CECCHI, District Judge.

          This patent case was brought by Plaintiffs Immunex Corporation (“Immunex”), Amgen

   Manufacturing, Limited (“Amgen”), and Hoffman-La Roche, Inc. (“Roche”) (collectively,

   “Plaintiffs”) against Defendants Sandoz Inc., Sandoz International GmbH and Sandoz GmbH

   (collectively, “Defendants”). Specifically, this action relates to the validity of claims 11-12 and

   35-36 of U.S. Patent No. 8,063,182, which covers the fusion protein etanercept, the active

   ingredient in Immunex’s product Enbrel® (Joint Trial Exhibit (“JTX”)-l’ (“the ‘182 Patent”)),

   and claims 3, 8, and 10 of U.S. Patent No. 8,163,522, which covers Enbrel®’s method of

   manufacture (JTX-2 (“the ‘522 Patent”)) (collectively, the asserted claims of the “Patents-in

   Suit”). See ECF No. 18       ¶   9. Enbrel® is a brand name biologic drug primarily used to treat

   rheumatoid arthritis. Id.   ¶J 43, 45; ECF No. 688 at 11 ¶ 38.
          The Court held a two-week bench trial in this matter that began on September 11, 2018 and

   concluded on September 25, 2018. ECF Nos. 621-622, 627, 629-635. The parties submitted post-

   trial briefing and proposed findings of fact and conclusions of law through early November2018.

   ECF Nos. 648 (corrected at 651-2 (“PFOF”)), 647 (corrected at 649-2 and subsequently corrected

   at 650-1 (“DfOf”)), 645 (corrected at 651-1 (“PIs. Br.”)), 646 (corrected at 649-1 and


    JTX refers to the joint trial exhibits submitted by the parties. These exhibits have been mutually
   agreed to as admissible.

                                                      1
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 2 of 85 PageID: 22114




   subsequently corrected at 650-2 (“Defs. Br.”)). On November 6, 2018, the parties submitted

   response briefs. ECF Nos. 653 (“Pis. Reply Br.”), 652 (“Defs. Reply Br.”). Closing arguments

   were held on November 19, 2018. ECF No. 656.

           Enbrel® is the first U.S. food and Drug Administration (“FDA”) approved fusion protein,

   approved in November 1998. PFOF           ¶J   8, 10; DFOF   ¶   12. In August 2016, the FDA approved

   Defendants’ biosimilar version of Enbrel®, called ErelziTM. PFOF ¶ 11; ECF No. 68$ at 11         ¶J 41-
   43. Defendants do not contest infringement of the ‘182 Patent or the ‘522 Patent. ECF No. 619;

   PFOF   ¶J   16. Therefore, the issue left for this Court to decide is whether the Patents-in-Suit are

   invalid based on the following legal principles: (1) lack of written description and enablement;

   (2) obviousness; and (3) obviousness-type double patenting.

           This Opinion constitutes the Court’s findings of fact and conclusions of law pursuant to

   Federal Rule of Civil Procedure 52(a). The findings of fact are based on the Court’s observations

   and credibility determinations of the witnesses who testified, and a thorough review of all the

   evidence admitted at trial. While the Court has reviewed all of the evidence presented, given the

   length of the trial record, the Court includes references only to the evidence most pertinent to its

   analysis. For the reasons set forth below, the Court fmds that the Patents-in-Suit are not invalid.

       I. BACKGROUND

                 A. Parties

          Plaintiff Roche was the first to file the patent applications that eventually issued as the

   Patents-in-Suit. PFOF      ¶   51. Thereafter, Plaintiffs Amgen and Immunex obtained certain rights

   from Roche pertaining to the Patents-in-Suit, pursuant to an agreement called the Accord and

   Satisfaction, which included the right to take over the prosecution of the relevant patent

   applications and the right to commence an infringement action. JTX- 12. Plaintiff Roche is a New

   Jersey corporation with its principal place of business in New Jersey. ECF No. 18       ¶ 3.   Plaintiff

                                                       2
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 3 of 85 PageID: 22115




   Immunex is a Washington corporation with its principal place of business in California and is a

   wholly owned subsidiary of non-party Amgen Inc. Id.         ¶ 1. Plaintiff Amgen is a corporation of
   the Territory of Bermuda with its principal place of business in Puerto Rico and is also a wholly

   owned subsidiary of non-party Amgen Inc. Id.       ¶ 2.
             Defendant Sandoz Inc. is a Colorado corporation with its principal place of business in

   New Jersey. Id.     ¶ 4. Defendant Sandoz International GmbH is a German corporation with its
   principal place of business in Germany. Defendant Sandoz GmbH is an Austrian corporation with

   its principal place of business in Austria and is a subsidiary of Sandoz International GmbH. Id.    ¶f
   6-7. Sandoz Inc. is the United States agent for Defendants Sandoz International GmbH and Sandoz

   GmbH. Id.      ¶ 4. Mi parties are in the business of developing, manufacturing, marketing, and
   selling biopharmaceutical products. Id.

                B. Background of the Invention

             The active ingredient in the biopharmaceutical drug at issue in this case is a fusion protein

   known as etanercept that is made by combining the extracellular region of a 75 kilodalton Human

   Tumor Necrosis F actor Receptor with a portion of an IgG 1 immunoglobulin. This section will

   first provide the scientific background of the claimed invention, by explaining each component

   and its purpose. Next, the Court will provide the relevant research and patent history for the

   Patents-in-Suit.

                             1.     Scientific Background

             Rheumatoid arthritis is an inflammatory auto-immune disease, i.e. a disease which occurs

   when “an overactive immune system attacks an individual’s own body,” and causes bone erosion,

   narrowing of joint space, and irreversible joint damage. PFOF          ¶f 32-3 3. One way to treat
   rheumatoid arthritis is to “dampen the immune system” and to “inhibit inflammatory reactions.”

   Id.   ¶ 47-48. The immune system is made up of various cells and antibodies that protect the body
                                                      3
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 4 of 85 PageID: 22116




    from foreign invaders.     Id.   ¶   23.    Antibodies have two primary functions:         to bind foreign

    substances known as antigens, and to recruit other immune system components to attack antigens.

    Id. There are many classes and subclasses of the antibody immunoglobulin or “Ig”, of which IgG

   is one such class. Id.   ¶ 99,   158. There are four subclasses of human IgG: IgGi, IgG2, IgG3, and

    IgG4. Id.

           IgG is a protein, and proteins are made up of “amino acid residues connected in a strand

   called a ‘polypeptide,’ which folds into a three-dimensional shape that imparts certain structural

   and functional characteristics.” Id.        ¶ 20.   Scientists can identify protein sequences based on the

   order of amino acids in the protein, with the beginning portion of the sequence referred to as the

   “N-terminus” and the end portion referred to as the “C-terminus.” Id.          ¶J 2 1-22.
           Structurally, an IgG protein, pictured below, consists of two heavy chains and two light

   chains, and each chain contains variable and constant regions. Id.        ¶ 24.   The constant region is the

   portion that interacts with other components of the immune system to elicit a response. Id. The

   heavy chain constant region includes the CH 1, the hinge, CH2, and CH3 domains while the light

   chain constant region consists of the CL domain. Id. The variable region of each chain, labeled

   here as VH and VL, is what binds to the antigen. Id.




                                                           4
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 5 of 85 PageID: 22117




                                                   VH            VH



                                                                           VI


                                              CI                      Cc



                                                   012         CH2



                                                   CH3          CH3




   DFOF ¶ 208.

             Another component of the immune system, called a cytokine, is a messenger protein that

   has a wide variety of functions, including to initiate an immune response. PFOF         ¶ 27.   The body

   makes dozens of distinct cytokines, one of which is the Human Tumor Necrosis Factor (“TNf”).

   Id. ¶J 27-29. TNF can be found in an insoluble (membrane-bound) or soluble (free-flowing) form.

   Id.   ¶ 28.   Originally discovered to kill tumor cells, ThF has many functions and by August 1990,

   scientists associated it with inflammatory diseases, such as rheumatoid arthritis. Id.    ¶J 28-33.
             TNF plays a significant role in auto-immune disorders. Id. TNF binds to certain proteins

   called TNF receptors (“TNfRs”) that extend beyond the outer membrane of a cell. Id.                ¶   30.

   TNFRs have three regions: intracellular, transmembrane, and extracellular. Id. The extracellular

   portion of the TNFR, which is the portion that “protrudes outside the cell,” can be split off to

   produce a “soluble” fragment of the ThFR that can bind to TNF. Id.           ¶J 30,   76. Two types of

   TNfRs have been identified, one that has a molecular weight of approximately 55 kilodaltons

   (“p55 TNFR” or “p55”) and one with a molecular weight of approximately 75 kilodaltons (“p75

   TNFR” or “p75”). Id.      ¶ 36-38.


                                                         5
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 6 of 85 PageID: 22118




           Etanercept, the active ingredient in the biopharmaceutical drug Enbrel® at issue here, is a

    fusion protein that combines the extracellular region of a p75 TNFR with an IgGi. Id.         J 9. “A
    fusion protein is made by combining DNA sequences encoding parts of different proteins into one

    sequence, introducing that sequence into host cells, and using their natural internal machinery to

    prodtice the desired fusion protein.” Id.   ¶ 19. Specifically, etanercept is a “dimeric fusion protein
    consisting of the extracellutar region of the p75 TNF receptor” which, as the parties have

    stipulated, is “fused to the exon-encoded ‘hinge-CH2-CH3’ of the constant region of a human

   IgGi antibody heavy chain.” Id.    ¶ 9; DFOF ¶ 93; ECF No. 68$ at 20 ¶ 68. Etanercept works by
   binding to and neutralizing excess TNF in patients with rheumatoid arthritis, thereby reducing the

   auto-immune inflammatory response. PFOF           ¶ 244. The graphic below depicts images of a p75
   TNFR and an IgGi on the left-hand side and etanercept on the right-hand side. The Patents-in-Suit

   cover etanercept and the method of making etanercept. Id.       ¶ 76.




                                                                                            9
     p75 TNFR
                        +             c3




                                   IgGi Immunoglobulin
                                                                                            ft
                                                                                          Etanercept


   DFOF ¶JJ 208, 214.




                                                       6
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 7 of 85 PageID: 22119




                           2.    Research and Patent History

          By 1990, “there was a high level of interest in studying TNF and investigating whether

   targeting TNF with a TNF -binding protein would provide a therapeutic benefit by inhibiting the

   binding of TNF to its cell-bound receptors.” DFOF      ¶J 1, 14. At that time, scientific evidence
   pointed to at least two TNFRs expressed by the human body: p55 and p75 TNFR. PFOF ¶J 37-

   32; DFOF   J 2. In April 1990, researchers at Roche (the “Roche Inventors”2) published the
   complete amino acid sequences for the p55 TNFR and the cDNAs3 encoding it. PFOF ¶ 39; DFOF

   ¶J 15, 16; JTX-2 1 at 1. Tn May 1990, Immunex published an article containing the complete amino
   acid sequence for p75 and therein stated that the researchers isolated a eDNA clone of the receptor.

   PFOF ¶ 40; Smith, C.A., et. al., A Receptorfor Tumor Necrosis FactorDefines an Unusual Family

   of Cellular and Viral Proteins, Science 248: 1019-23 (1990) (JTX-24) (“Smith 1990”); DFOF         ¶
   4. Several months later in July 1990, the Roche Inventors published the complete amino acid

   sequence for the p75 TNFR and part of its encoding cDNA. PFOF ¶ 39; Dembic, Z. et al., Two

   Human TNF Receptors Have Similar Extracellular, But Distinct Intracellular, Domain Sequences,

   Cytokine 2(4): 231-37 (1990) (JTX-23) (“Dembic 1990”); DFOF ¶ 30.

          Around the same time that the Roche Inventors were publishing studies on the amino acid

   sequences in p55 and p75 TNFR, they were also exploring the possibility of ThFR-Ig fusion

   proteins. PFOF ¶ 46. The Roche Inventors were ultimately successful in creating fusion proteins

   using both p55 and p75 TNFRs. Id. ¶ 49. The initial fusion protein used an IgG3 immunoglobulin,



   2
    The Roche Inventors were Manfred Brockhaus, Reiner Gentz, Zlatko Dembic, Werner Lesslauer,
   Hansruedi Lötscher, and Ernst-Jurgen Scfflaeger.
     “eDNA” stands for complementary DNA. The Roche Inventors converted amino acid peptide
   sequences into DNA sequences and used those DNA sequences as probes to create primers that
   would allow the Roche Inventors to “fish” out cDNAs encoding TNF receptors out of a cDNA
   library. PFOF ¶J 3 8-39; DFOF ¶J 15-16.

                                                    7
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 8 of 85 PageID: 22120




   however the Roche Inventors’ “pathway of experimental work leading to a TNFR fusion protein”

   also contemplated fusion proteins with IgGl and IgG2 immunoglobulins. Id.           ¶J 50, 58-68.
             On August 31, 1990, the Roche Inventors filed a patent application in Europe bearing

   Application No. 90116707 (“EP ‘707 Application”) and on September 13, 1990, they filed a U.S.

   Patent with Application No. 07/580,013 (“013 Application”). Id. ¶ 51. The Patents-in-Suit claim

   the benefit of the ‘013 Application and priority to the European ‘707 Application. Id. The Patents

   in-Suit, as well as the EP ‘707 Application and the ‘013 Application, encompass a p75 TNfR

   IgGi fusion protein, but because the parties differ in their assessments of the patent specifications

   and validity of the claimed invention, further details on the Patents-in-Suit will be discussed below.

   Id.   ¶J 50-53; DFOF ¶J 3 6-37.
                C. Patents-in-Suit and Relevant Prosecution History

                            1.       The’182 Patent

             The ‘182 Patent, entitled “Human TNF Receptor fusion Protein,” issued on November 22,

   2011 and expires on November 22, 2028. PFOF ¶ 74; DFOF            ¶ 83.   The asserted claims “define a

   fusion protein consisting of parts of two different proteins: the extracellular region of p75 fused

   to all of the domains of the human IgGl constant region other than the first domain.” Pf OF         ¶
   74-76; see also ‘182 Patent (JTX-1) col. 39:60-67, 42:26-34.

            The initial ‘013 Application was abandoned, and U.S. Application No. 08/965,640 (“640

   Application”) was filed on July 21, 1993 as a continuation. PFOF ¶ 57; DFOF ¶J 3 8-39. The ‘640

   Application was subject to a restriction requirement by the United States Patent and Trademark

   Office (“USPTO”) and in response Roche elected to pursue claims related to the p55 fusion

   protein, which issued as U.S. Patent No. 5,610,279 (“279 Patent”) on March 11, 1997. PFOF            ¶
   57; DFOF     ¶   39-40; ECF No. 688 at 6   ¶   9. As a result of the restriction, Roche then filed two

   divisional applications on May 19, 1995: U.S. Application No. 08/444,790 (“790 Application”),

                                                       8
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 9 of 85 PageID: 22121




   which issued as the ‘182 Patent, and U.S. Application No. 08/444,791 (the ‘791 Application”),

   which issued as the ‘522 Patent. See PFOF J 57; DFOF ¶ 41.


                                                      ‘640 Application

                                                      ‘279 Patent
                                              Parent Application of Patents-ui-Suit

                                             C/aba lug a fusion Protein Relating
                                                         to p55 TNFR



                          Divisional                                                       Divisional

                      ‘790 Application                                                 ‘791 Application


                      ‘182 Patent                                                       ‘522 Patent
                         Patent-in-Suit                                                   Pateut-in-Stut

              Claiming a Fusion Protebs Relating                                Claiming a Method qfPtvducing a
                         to p75 TNFR                                           Fusion Pmtein Relating to p75 TNFR



          In 2004, prior to issuance of the ‘182 Patent, Amgen and Immunex acquired the exclusive

   right to prosecute the Patents-in-Suit, among other rights, from Roche pursuant to an Accord and

   Satisfaction between non-party Amgen Inc., Immunex, and Roche. JTX-12 at 4-6, Article 3,                         ¶J
   3.1-3.6; see also PFOF ¶ 34; DFOF               54, 58, 62. Those rights were later consolidated in Immunex

   by a separate agreement. JTX-l4. In 2005, Immunex amended the ‘790 Application in response

   to a USPTO office action requiring the ‘790 Application to come into consonance with the

   restriction requirement. PFOF          ¶ 285; DFOF ¶ 73. The ‘790 Application was again amended in
   2006. PFOF ¶ 144; DFOF ¶ 74. Despite the amendments, the ‘790 Application was rejected “for

   failing to comply with the written description requirement and as obvious over the applied prior

   art,” and the rejection was appealed to the Board of Patent Appeals and Interferences (“BPAI”).

   Plaintiffs’ Trial Exhibit (“PTX”)-6.456 (“BPAI Opinion”). The BPAI reversed the examiner’s

   rejection. PTX-6.456 at 9 (BPAI Opinion reversing rejection by examiner). The ‘182 Patent then

   issued on November 22, 2011. See generally ‘182 Patent (JTX-1).

                                                                9
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 10 of 85 PageID: 22122




                              2.    The’522 Patent

              The ‘522 Patent, entitled “Human TNF Receptor,” issued on April 24, 2012 and expires on

    April 24, 2029. PFOF ¶ 74; DFOF ¶ 83. The asserted claims “define a method of producing [the]

    fusion protein” defined in the ‘182 Patent. ‘522 Patent (JTX-2) at 47-48 (claims 3, 8, 10); PFOF

    ¶ 75.     The ‘522 Patent issued from the ‘791 Application, which was filed on May 19, 1995 as a

    divisional of the ‘640 Application, along with the ‘790 Application which issued as the ‘182 Patent.

    PFOF ¶ 57; DFOF ¶ 48.

              Prior to the ‘522 Patent’s issuance, Amgen and Immunex amended the ‘791 Application in

    2004, 2007, and 2010 to include several references related to the full amino acid sequence for p75.

    See, e.g., ‘522 Patent (JTX-2) col. 3:1-3, fig. 5; DFOF ¶J 78-80. Like the amendments to the ‘182

    Patent, these amendments were triggered by two USPTO actions, which rejected the ‘791

    application for obviousness and insufficient written description.         PTX-7.35 1.    Despite the

    amendments, the ‘791 Application was still rejected, and that rejection was eventually overcome

    by citing the ‘790 Application BPAI Opinion which dealt with similar issues. PfOf ¶ 323; JTX

    4 at 4952-53. The ‘522 Patent then issued on April 24, 2012. See generally ‘522 Patent (JTX-2).

        II.        ISSUES TO BE DECIDED

              Prior to the commencement of trial, Defendants advised that they did not contest

    infringement of the Patents-in-Suit. ECF No. 619. As discussed above, the parties also stipulated

    that the term “all of the domains of the constant region of a human immunoglobulin IgG[lJ heavy

    chain other than the first domain of said constant region” is construed as meaning “the exon

    encoded ‘hinge-CH2-CH3’ region of human [IgG/IgGl].” ECF No. 688 at 20 ¶ 68. Accordingly,

    the question before this Court is whether the ‘182 and ‘522 Patents are invalid due to lack of written

    description and enablement, obviousness, and obviousness-type double patenting.



                                                     10
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 11 of 85 PageID: 22123




        III.          DISCUSSION

               Issued patents are presumed valid. See 35 U.S.C.       § 282(a). To rebut this presumption,
    Defendants bear the burden of proving invalidity by clear and convincing evidence. Titan Tire

    Corp. v. Case New Holland, Inc., 566 F.3d 1372, 1376 (Fed. Cir. 2009) (“Because of this

    presumption, an alleged infringer who raises invalidity as an affirmative defense has the ultimate

    burden of persuasion to prove invalidity by clear and convincing evidence, as well as the initial

    burden of going forward with evidence to support its invalidity allegation.”).

                  A. Written Description and Enablement (35 U.S.C.          §   112)

               A patent specification “shall contain a written description of the invention.” 35 U.S.C.

     § 112. The specification must “reasonably convey[J to those skilled          in the art that the inventor

     had possession of the claimed subject matter as of the filing date.” Ariadfharm. Inc. v. Eli Lilly

     & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010). The test for written description “requires an

    objective inquiry into the four corners of the specification from the perspective of a person of

    ordinary skill in the art.”4 Id.           “[W]hether a patent complies with the written description

    requirement will necessarily vary depending on the context. Specifically, the level of detail

    required.     .   .   varies depending on the nature and scope of the claims and on the complexity and

    predictability of the relevant technology.” Id. (citation omitted). When reviewing the patent

    according to these principles, “[w]ritten description is a question of fact, judged from the

    perspective of [a POSAJ as of the relevant filing date.” falko-Gunter Falkner v. Inglis, 448 F.3d

     1357, 1363 (Fed. Cir. 2006) (citing Vas-Cath, Inc. v. Mahurkar, 935 F.2d 1555, 1563-64 (Fed.

    Cir. 1991)).




     A person of ordinary skill in the art will hereinafter be referred to as a “POSA.”

                                                          11
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 12 of 85 PageID: 22124




              Additionally, as to enablement, a patent specification must describe “the manner and

     process of making and using [the invention], in such full, clear, concise, and exact terms as to

     enable any person skilled in the art to which it pertains   .   .   .   to make and use the same   .   .   .   .“   35

     U.S.C.   § 112. Moreover, enablement requires that the specification teach a POSA “how to make
     and use the full scope of the claimed invention without undue experimentation.” MartekBioscis.

     Corp. v. Nutrinova, Inc., 579 F.3d 1363, 1378 (Fed. Cir. 2009) (citation omitted). A patentee

     need not “include in the specification that which is already known and available to [a PO$A]”

     and “not every last detail is to be described, else patent specifications would turn into production

     specifications, which they were never intended to be.” Kotto Mfg. Co. v. Turn-Key-Tech, LLC,

     381 F.3d 1142, 1156 (Fed. Cir. 2004) (citation omitted). “Enablement is a question of Law

     involving underlying factual inquiries.” fatkner, 448 F.3d at 1363 (citing Genentech, Inc. v.

     Novo NordiskA/S, 10$ F.3d 1361, 1365 (Fed. Cir. 1997), In re Wands, 858 F.2d 731, 737 (Fed.

     Cir. 1988)).

           Defendants argue that the Patents-in-Suit are invalid because their specifications (1) lack a

     sufficient written description of the invention and (2) do not enable a POSA to make or use the

     invention. Defs. Br. at 20-3 5. By contrast, Plaintiffs contend that the specifications are adequate,

     and that Defendants failed to prove their written description or enablement claims by clear and

     convincing evidence. Pls. Br. at 12-21.

           In support of their arguments, the parties relied heavily on the testimony of the following

    four witnesses: (1) Defendants’ expert Daniel Capon, Ph.D., (2) Defendants’ expert Carl P.

    Blobel, M.D., Ph.D., (3) Plaintiffs’ expert James Naismith, Ph.D, and (4) Plaintiffs’ expert

    Hansmedi Loetscher, Ph.D.5 For the reasons set forth below, the Court finds that Defendants


      Defendants’ expert Daniel Capon, Ph.D. has 37 years of experience in the field of biotechnology,
    including at Genentech, Inc., Cell Genesys, Inc., Xenotech, Inc., and ViroLogic, Inc. Defendants’

                                                     12
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 13 of 85 PageID: 22125




     failed to prove invalidity based on the written description and enablement requirements by clear

     and convincing evidence, and therefore the Patents-in-Suit are not invalid under 35 U.S.C.   § 112.
                            1.    The Specifications Meet the Written Description Requirement

           Defendants argue that the specifications are deficient because they neither sufficiently

     describe etanercept nor convey that the Roche Inventors had possession of etanercept, and that

     further, the specifications in conjunction with the claims do not direct a POSA to the specific

     embodiment of etanercept. Defs. Br. at 20-32. Plaintiffs counter that the necessary elements of

     the claimed invention are adequately described throughout the specifications, were known and

     available prior to August of 1990, and that the specifications adequately describe the novel

     combination of those elements to create etanercept. Pls. Br. at 13-21. Therefore, Plaintiffs

     contend that the specifications demonstrate possession and the patents properly direct a POSA to

     etanercept. Id.

           The ‘182 Patent claims a fusion protein consisting of the extracellular portion of the p75,

     as well as the exon-encoded hinge, CH2 and CH3 domains of human IgGi, while the ‘522 Patent

     claims the method of making the fusion protein. ‘182 Patent (JTX-1) col. 39:14- 42:34; 9/18 AM

     (Naismith) Tr. at 89:2-12, 91:8-14; ‘522 Patent (JTX-2) col. 45:44-48:4. The patent specifications

     of the ‘182 and ‘522 Patents identify soluble fragments of p75 TNFR as one of two TNF binding



    expert Carl P. Blobel, M.D., Ph.D. is a Professor of Medicine, Physiology, and Biophysics at the
    Weil Medical College of Cornell University and Virginia F. and William R. Salomon Chair in
    Musculo skeletal Research and Director of the Arthritis and Tissue Degeneration Program at the
    Hospital for Special Surgery. ECF No. 688 at 131 ¶J 43-44. Plaintiffs’ expert James Naismith,
    Ph.D. is a Professor of Structural Biology at the University of Oxford in the United Kingdom who
    has more than 20 years of research experience on the structure and function of proteins. Id. at 126-
    127 ¶J 35-37. Dr. Naismith’s post-doctoral research at the Howard Hughes Medical Institute in
    DalLas, Texas focused on proteins specifically involved in TNF signaling. Id. PLaintiffs’ expert
    Hansrnedi Loetscher, Ph.D., an inventor of the Patents-in-Suit, worked at F. Hoffman-La Roche
    AG from 1984 through 2016, where he most recently served as the Global Head of Neuroscience
    Discovery. Id. at 117 ¶J 1-3.

                                                     13
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 14 of 85 PageID: 22126




        proteins, i.e. p55 and p75, used in TNfR-IgG fusion proteins and include both figures and

        examples that are referenced in the parties’ arguments. There are multiple figures in the Patents-

        in-Suit that provide nucleotide sequences for the TNF binding protein. See generally ‘182 Patent

        (ifX- 1); ‘522 Patent (JTX-2). In analyzing the specifications, it appears that Figure 1 of the

        specifications relates to a p55 TNFR and figure 4 relates to a p75 TNFR6 Figure 4 is a

        “[n]ucleotide sequence.   .   .   and deduced amino acid sequence.   .   .   for cDNA clones derived from”

        a p75 TNFR, which consists of a long combination of letters representing those amino acids and

        related cDNA combinations.            ‘182 Patent (JTX-l) col. 2:60-62, fig. 4.         The specifications

        additionally include multiple examples pertaining to a TNFR-IgG fusion protein.                     In the

        examples, both the ‘182 and ‘522 Patents notably discuss and disclose tvo nucleotide sequences

        for portions of p75—SEQ ID NO: 10 (N-terminus) and SEQ ID NO: 7 (C-terminus).

              The Patents-in-Suit disclose using “especially preferred vectors” pCD4-I+yl (DSM 5314,

    deposited on Apr. 21, 1989) and pCD4-Hy3 (DSM 5523, deposited on Sept. 14, 1989) “[flor the

    expression of proteins which consist of a soluble fragment of non-soluble TNF-BP [binding

    protein] and an immunoglobulin fragment, i.e. all domains except the first of the constant region

    of the heavy chain.” ‘182 Patent (JTX-1) col. 8:56-9:8. The specifications further state that “the

    present invention embraces not only allelic variants, but also those DNA sequences which result

    from deletions, substitutions and additions from one or more nucleotides of the sequences given

    in FIG. 1 or FIG. 4” and yield TNF-binding proteins. ‘182 Patent (JTX-1) col. 5:17-22; ‘522

    Patent (JTX-2) col. 5:29-34. The Patents-in-Suit also reference the Smith 1990 article—the




    6
      In the ‘522 Patent, figure 1 is broken down into Figures lA-iD and figure 4 is broken down into
    figures 4A-4D.

                                                            14
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 15 of 85 PageID: 22127




    Immunex publication that includes the complete amino acid sequence for p75. ‘182 Patent (JTX

    1) col. 5:22-24; ‘522 Patent (JTX-2) col. 5:34-37.

                               a) The Requisite Components of the Fusion Protein Were Disclosed
                                  in the Specifications and Known Prior to August 1990

           The Court finds that the specifications of the Patents-in-Suit sufficiently describe the

    components of etanercept. A patent must include sufficient details such that a POSA could

    understand the subject invention and recognize that the inventor possessed it. Ariad, 59$ F.3d at

    1351. However, this requirement does not necessarily mean that the specification of the patent

    must include every nuanced detail.7 Indeed, “[a] patent need not teach, and preferably omits, what

    is well known in the art.” Falkner, 448 F.3d at 1365 (quoting Spectra-Physics, Inc. v. Coherent,

    Inc., 827 F.2d 1524, 1534 (Fed. Cir. 1987)); see also Capon v. Eshhar, 41$ F.3d 1349, 1357-58

    (Fed. Cir. 2005) (holding that a patent’s specifications do not need to reiterate the structure,

    formula, or chemical name of a claimed invention to satisfy the written description requirement

    when that information is already known in the field). The Court will first analyze the sufficiency

    of the description of p75, followed by the sufficiency of the description of the IgGl portion of the

    fusion protein.




    ‘
      Defendants contend that Plaintiffs ignore the controlling precedent in Ariad, and improperly ask
    the Court to venture outside of the specifications to fmd the requisite written description. Defs.
    Reply Br. at 12-14. In other words, Defendants assume distinct requirements for an adequate
    written description before and after the Ariad decision. However, the precedent is clear that
    sequences disclosed in the prior art need not be repeated and the standard has not changed in that
    regard following Ariad. See Falkner, 44$ F.3d 1357; Capon, 41$ F.3d 1349; see also Zoltek Corp.
    v. United States, 815 F.3d 1302, 130$ (fed. Cir. 2016) (post-Ariad case confirming that “written
    description need not include information that is already known and available to the experienced
    public”) (internal quotation marks and citation omitted). The Court finds that the specifications
    meet the requirements of falkner and Capon, which are still current and applicable law, and are
    not inconsistent with Ariad.

                                                    15
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 16 of 85 PageID: 22128




                                     i.   p75 Is Adequately Described
           Analyzing the Patents-in-Suit, the Court finds that p75 is sufficiently described. The

     specifications of the Patents-in-Suit identify two TNF receptors, p55 and p75, and further note

     that the invention embraces allelic variants and DNA sequences resulting from deletions,

     substitutions, and additions of one or more nucleotides of the sequences provided in figure 1

     andJor Figure 4. ‘182 Patent (JTX-1) col. 4:1-5:24. Sequence identification numbers, which

     correspond to p75, are mentioned throughout the specification (including the examples therein)

     and in the claims, and Example 6 explains that the inventors isolated the p75 TNFR. Id. coY.

     15:31-39.

           furthermore, the prior art demonstrates that the p75 amino acid sequence was well known

     to a POSA at the time of the invention. The Court may look to prior art and trial testimony when

     determining what a POSA would have known at the time of the invention. See, e.g., Ariad, 598

     F.3d at 1351 (relying on expert testimony and examples of prior art to make written description

     determination); falkner, 448 F.3d at 1365-66. The parties agreed that by August 1990, the p75

     TNFR was well known to a POSA. PFOF ¶J 86-87; DFOF ¶2. Both the Immunex Smith article

     and the Roche Dembic article, which were published in May 1990 and July 1990 respectively,

     contain a full recitation of the p75 amino acid sequence. PFOF ¶J 89-91; Smith 1990 (JTX-24)

     at 3-4, fig. 3B; Dembic 1990 (JTX-23) at 1-2. The Smith 1990 article, expressly referenced in

     the Patents-in-Suit, also notes that “[tJhe entire nucleotide sequence is available upon request and

     has been deposited with GenBank, accession number M32315.” Smith 1990 (JTX-24) at 3-4,

     Fig. 3B. GenBank is an amino acid repository which can match partial amino acid sequences

     with full corresponding sequences that have been deposited with GenBank.             See 9/1 $ AM

     (Naismith) Tr. at 62:7-16. Sequences are provided to GenBank as “an information deposit” in

     which the DNA sequence letters are submitted and an “accession number” is the particular

                                                     16
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 17 of 85 PageID: 22129




        identification number assigned to each submitted sequence. Id. at 73:17-74:1. Similarly, the

        Dembic 1990 article contains the entire p75 amino acid sequence.8 See Dembic 1990 (JTX-23)

        at Fig. 1. Ultimately, neither party contests that the prior art “definitively identified two TNF

        receptors: the p55 and the p75” by August 1990. Defs. Br. at 21; PFOF         ¶J 36-38.   The parties

        further agree that Immunex scientists in May 1990 and later the Roche Inventors in July 1990

        published the full-length p75 TNFR before the related European priority patent application was

        filed in August 1990. DFOF ¶2; PFOF ¶J 39-41.

              Defendants, however, argue that because the specifications refer to Smith 1990 as an

        example of a “deletion” when compared to Figure 4 (when it was instead the complete sequence

        of Figure 4), a POSA would not have considered using the Smith 1990 sequence. Defs. Br. at 25.

        Upon review of the disclosure, the Court does not believe a POSA would have been deterred from

        looking to Smith 1990 for use in the fusion protein due to the term “deletion.” Just prior to that

        language in the specification, the invention embraces not only deletions but also all allelic variants

        including “substitutions and additions.” ‘182 Patent (JTX-1) col. 5:17-24. In fact, a POSA may



    8
      The Dembic 1990 article also explains that TNFRs that have a molecular weight of either 65 kD
    or 75 kD are both the p75 protein because the 65 kD TNFR is simply a derivative of p75. Dembic
    1990 (JTX-23) at 1. The authors of the Dembic 1990 article arrived at this conclusion because
    both the 65 and 75 kD TNFRs bound “the same monoclonal antibody.” Id.; see also 9/18 AM
    (Naismith) Tr. at 80:9-81:5 (Dr. Naismith testifying that proteins can gain or lose weight
    depending on glycosylation which “is the addition of sugar molecules” and concluding that TNF
    receptors with molecular weights of either 65 or 75 kD are both the p75 protein used in etanercept).
      By April 1990, the Roche Inventors were the first to discover that there were two distinct TNfRs
    that specifically bound to ThF, p55 and p75. 9/17 (Loetscher) Tr. at 20:1-18, 26:8-28:8; JTX-22
    at 1. In May 1990, Immunex scientists published the Smith 1990 article containing the p75’s
    complete amino acid sequence and included a figure caption indicating that a cDNA sequence
    encoding the p75 had been deposited with GenBank. Smith 1990 (JTX-24) at 3, Fig. 3B; 9/17
    (Loetscher) Tr. at 38:6-24; see also 9/13 AM (Capon) Tr. at 85:3-11. Two months later, in July
    1990, the Roche Inventors published the complete amino acid sequence of p75 and a cDNA
    sequence encoding part of it, resulting in the Dembic 1990 article. 9/17 (Loetscher) Tr. at 33:1         -




    33:23; Dembic 1990 (JTX-23) at 2, Fig. 1.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 18 of 85 PageID: 22130




     have been encouraged to look to an outside reference, such as the Smith 1990 article, that was

     expressly called out by name in the specification. 9/18 PM (Naismith) Tr. at 52:23-53 :8. At trial,

     Plaintiffs’ expert Dr. Naismith credibly testified that the Smith 1990 reference would have

     communicated to the ordinary artisan that “[i]f you hadn’t read the paper, go and read it. They’d

     think it was a landmark paper.”° Id. Thus, the Court agrees with Plaintiffs that despite the word

     “deletion,” a POSA would have been directed to Smith 1990 and therefore the full p75 protein.

           In further support of Plaintiffs’ arguments, Example 7 contains the N-terminus sequence

     designated SEQ ID NO: 10. ‘182 Patent (JTX-l) col. 16:22-30. SEQ ID NO: 10 matches the

     first 18 amino acids at the N-terminus of the known p75 as published in Smith 1990. Id.; Smith

     1990 (JTX-24) at 3, fig. 33. The Patents-in-Suit also include the 18 amino acid sequences close

     to the C-terminus of the known p75 protein designated SEQ ID NO: 7. These two disclosed

     nucleotide sequences for p75 would have, in addition to Figure 4 and the Smith 1990 reference,

     directed a POSA to the full p75 sequence at the time of the invention. See ‘182 Patent (JTX- 1)

     col. 39:13-42:34 (claims of the ‘182 Patent specifically requiring the use of the protein that

     “comprises the amino acid sequence.    .   .   (SEQ ID NO: 10)”), coY. 4:18-20, 16:36-38 (identifying

     SEQ ID NO:7 as a partial amino acid sequence that makes up a preferred protein); ‘522 Patent

     (JTX-2) col. 45:44-48:4 (claims of the ‘522 Patent specifying the amino acid described in SEQ

     ID NO: 10), col. 4:31-32, 16:57-58 (listing SEQ ID NO:7 as an example of a partial amino acid




    ‘°Defendants misconstrue part of Dr. Naismith’s testimony as indicating that he believed the Smith
    reference would have discouraged a POSA from using the known complete p75 TNFR sequence.
    Defs. Br. at 25; 9/18 PM (Naismith) Tr. at 22:19-23, 23:20-24. Plaintiffs correctly counter that
    because Figure 4 is a smaller sequence than the Smith 1990 sequence, a POSA would have
    understood the passage to suggest Smith 1990 as a source of p75 TNFR to use in the fusion protein.
    Pls. Br. at 21; 9/18 PM (Naismith) Tr. at 22:15-24:3, 52:19-53:8 (“I simply went and read the paper
    to figure out what a scientist would do. Smith is a complete sequence, which was known; and
                                                .   .



    Figure 4 is a partial sequence of many less residues.”).

                                                         18
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 19 of 85 PageID: 22131




     sequence to be used in a preferred protein); see also ‘182 Patent (JTX-1) coY. 5:17-22. With

     respect to the sequence identification numbers for SEQ ID NO: 10 and SEQ ID NO: 7, Plaintiffs’

     expert Dr. Naismith credibly testified that there was less than a one-in-a-million chance that the

     wrong protein would be produced by GenBank if an inquiry was made to retrieve the complete

     p75 sequence corresponding to one of the sequence identification numbers.             See 9/18 AM

     (Naismith) Tr. at 68:13-16. Moreover, Dr. Naismith testified that there was “zero chance” that

     any other protein would be returned by GenBank if the request included both SEQ ID NO: 10 and

     SEQ ID NO: 7 at that time. Id. at 68:17-25; see also 9/12 PM (Blobel) Tr. at 14:6-12 (Defendants’

     expert Dr. Blobel also testifying “if you took a sequence of this receptor, you would presumably

     get this receptor back. That’s how it works.”))2 Accordingly, the Patents-in-Suit sufficiently

     describe the subject fusion protein using the known full p75 sequence.

                                      ii.   IgGi and the Fusion Protein are Adequately Described

            The disclosure of the second necessary part of etanercept was also adequate because the

    specification clearly refers to use of deposited vectors (including “pCD4-Hyl”) that contain DNA


       Defendants cite to In re Wallach, 378 F.3d 1330 (2004) to argue that a partial amino acid
    sequence is insufficient to describe the full protein when it could not be used to obtain the full
    protein. However, given Dr. Naismith’s testimony that the partial sequences as disclosed would
    allow a POSA to obtain the full-length sequences from Genbank, the Court finds that the instant
    case is distinguishable from Wallach.
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        Defendants’ expert, Dr. Capon, opined that a POSA would not have been able to obtain the
    correct full p75 sequence from GenBank if provided with the sequence identification number or
    the accession number as listed in Smith 1990 because there would have been too many results. Dr.
    Capon, however, stated that he was not qualified to opine in that area and conceded that he had
    only first accessed GenBank five years after 1990. 9/13 PM (Capon) Tr. at 20:1-6, 20:18-23,
    21:10-22:25 (Capon testifying that “I don’t know what the requirements of accessing something
    from GenBank were     .   .I’m not qualified to testify [about that]” and “the first time I believe I
                                  .



    accessed GenBank was in 1995”). By contrast, Plaintiffs’ expert, Dr. Naismith, limited his opinion
    to what a POSA would have been able to obtain “at [the] time” of the invention. See 9/18 AM
    (Naismith) Tr. at 68:21-25. The timing is significant here because the sequence match is based on
    the smaller number of deposits GenBank had in 1990. See id. at 68:2-9. Thus, the Court accords
    little weight to Dr. Capon’s opinion on this topic.

                                                     19
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 20 of 85 PageID: 22132




    sequences encoding the exon-defmed hinge-CH2-CH3 region of a human IgGi heavy chain as

    confirmed by the declaration of Defendants’ expert, Jeffery Kittendorf, Ph.D., an expert in

    biochemistry and a Research Assistant Scientist at the University of Michigan Life Sciences

    Institute. ECF No. 688 at 132   ¶ 47; JTX-16 at 32-34; see also 9/17 (Loetscher) Tr. at 57:4-58:25.
             Example 11 then provides a recipe to fuse a soluble TNF-binding fragment directly to that

    exon-encoded hinge-CH2-CH3 region of an IgG heavy chain, thereby providing a POSA with the

    full fusion protein. ‘182 Patent (JTX-l) col. 9:3-8; 9/17 (Loetscher) Tr. at 56:10-57:13, 58:18-

    59:5; 9/18 AM (Naismith) Tr. at 54:16-21, 90:10-91:7, 92:21-93:8. This example illustrates

    utilizing a cDNA fragment that encodes the extracellular region of a TNF-binding protein, and

    describes the process generally using a p55 TNFR as an illustration. 9/17 (Loetscher) Tr. at 56:5-

    5 8:24. A POSA would have followed that example and used p75 to create etanercept based on the

    claims in the Patents-in-Suit and the specification.’3 See 9/12 PM (Blobel) Tr. at 8:5-10:2, 14:6-

    12; 9/17 (Loetscher) Tr. at 56:5-58:24; 9/12 AM (Naismith) Tr. at 67:14-68:25, 72:15-73:1, 73:17-

    74:8, 94:10-14, 94:20-95:6.

            Moreover, the parties agree that the IgGl hinge-CH2-CH3 was also known in the prior art

    as of August 1990. DFOF       ¶ 167; PFOF ¶J 99-100. Thus, because the p75    TNFR sequence and



    13
       Defendants claim that Centocor Ortho Biotech, Inc. v. Abbott Labs., 636 F.3d 1341 (Fed. Cir.
    2011) supports their argument that the Patents-in-Suit are invalid because they contend that the
    specifications do not describe the claimed fusion protein. Defs. Br. at 31; Defs. Reply Br. at 14.
    Centocor is distinguishable from the instant case for two main reasons. First, unlike in Centocor,
    the Patents-in-Suit issued from divisional applications as a result of a USPTO restriction
    requirement, so the specification should contain disclosures from the parent application. See
    Pfizer, Inc. v. Teva Pharms. U.S.A., Inc., 518 F.3d 1353, 1359 (Fed. Cir. 2008); Manual ofPatent
    Examining Proceditre (“MPEP”) § 201.06; see also supra at I.C. Second, amendments here were
    made as a result of that restriction requirement and in accordance with an agreement between
    Plaintiffs Roche, Iniinunex, and Amgen, and not, as in Centocor, in an “attempt to claim as its own
    the fruit of [Defendants’] innovative work.” Centocor, 636 F.3d at 1349. Further, Centocor is
    consistent with the Court’s analysis above that the written description requirement is satisfied.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 21 of 85 PageID: 22133




    the IgGi sequence were well known and accessible to a POSA, a reproduction of the known

    sequences was not required to be explicitly included in the Patents-in-Suit in order to claim a novel

    combination of those sequences. See Falkner, 448 F.3d at 1368 (holding that genes and their

    nucleotide sequences must not be recited or incorporated by reference where “accessible literature

    sources   .   .   .   as of the relevant date” contain such information, because “forced recitation of known

    sequences in patent disclosures would only add unnecessary bulk to the specification”).

                                        b) The Patents-in-Suit Demonstrate Possession

              To the extent Defendants assert that Roche’4 never made the claimed p75 -IgG 1 fusion

    protein, such contention is legally insignificant.             Ariad holds that “the written description

    requirement does not demand either examples or an actual reduction to practice; a constructive

    reduction to practice that in a definite way identifies the claimed invention can satisfy the written

    description requirement.” 598 F.3d at 1352 (citing falkner, 448 F.3d at 1366-67). Here, as

    discussed, the claim language identifies the requisite elements of the subject invention—the p75

    fusion protein combined with the hinge-CH2-CH3 domains of IgGl—and, in conjunction with the

    specification, provides support of possession. Many of the examples in the Patents-in-Suit further

    demonstrate that the Roche Inventors had possession.’5 Accordingly, the Court is persuaded that




    ‘
       As mentioned above (I.C. 1.), Immunex acquired the rights to prosecute the Patents-in-Suit
    pursuant to a 2004 Accord and Satisfaction agreement between Roche and Immunex, which will
    be discussed in further detail below in Section III.C.2.a.
    15
       Defendants assert that a POSA would not believe that the Roche Inventors had possession of a
    p75 fusion protein because none of the examples in the Patents-in-Suit are directed to a p75 TNFR
    or a p75-IgGi fusion protein. Defs. Br. at 26-27. In opposition, Plaintiffs contend that the
    specifications, including the examples, disclose the known p75 protein and the p75 TNfR-IgGl
    fusion protein “because [the specification in each Patent-in-Suit] identifies both parts of the
    claimed p75-IgGl fusion protein       and describes how to combine them as the claims specify.”
                                               .   .   .




    Pls. Br. at 14-18.

                                                             21
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 22 of 85 PageID: 22134




    the Roche Inventors had possession of the invention based on the specifications of the Patents-in

    Suit, including the examples within the specifications, and the claims.

                                c) Amendments to the Prosecution File History Did Not Add New
                                   Material

           The Court will now consider two amendments to the Patents-in-Suit, both of which were

     approved by the USPTO. first, in 2006, Amgen and Immunex, with assistance from Roche,

     deposited a plasmid containing a p75 eDNA with American Tissue Culture Collection

     (“ATCC”)’6, and gave it a designation of PTA 7942. PFOF ¶J 93-94; DFOF ¶ 75; see also JTX

     81 at 19-20 (Plaintiffs’ witness Dr. Werner Lesslauer, one of the Roche Inventors involved in this

     project, testifying that Amgen deposited the p75 plasmid, Roche assisted in the deposit, and it

     was designated PTA 7942). That same year, Immunex amended the specification of the ‘790

     application (which resulted in the ‘182 Patent) to include a reference to Immunex’s PTA 7942

     plasmid deposit. 9/13 AM (Capon) Tr. at 50:9-51:1; JTX-16 at 29-31. The cDNA for the PTA

     7942 plasmid encodes the full-length p75 TNFR, which is identical to the sequence reported in

     Smith 1990. JTX-16 at 29-3 1. Second, in 2007, Immunex amended the specification of the ‘791

     application (which resulted in the ‘522 Patent) to expressly incorporate the Smith 1990 protein

     by reference. Defs. Br. at 33. Tmmunex also inserted a new figure, figure 5, that included the

     Smith 1990 sequence (in addition to the reference previously included). Id.

           Defendants assert that Immunex’s decision to take over the prosecution and amend the

    specifications of the Patents-in-Suit is a clear indication that the original specifications as filed by

    Roche were deficient. Id. at 32-33. In addition, Defendants assert that the USPTO did not have




    t6
      ATCC is a public depository where cell structures and microorganisms are deposited and made
    available   for   public    access.        See    “Who      We Are,”      https://lgcstandards
    atcc.org!enlAbout/About_ATCC/WhoWe_Are.aspx (last visited August 9, 2019).

                                                      22
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 23 of 85 PageID: 22135




    complete information when it approved the amendments because the Plaintiffs informed the

    USPTO that the Smith 1990 protein was “99% identical” to Figure 4, when in fact Defendants

    contend the two proteins are meaningfully different. Id. at 33-34. Defendants argue that Plaintiffs’

    amendments added what amounts to “new matter” not previously included in the application,

    which is a ground for a patent rejection.’7 See 35 U.S.C.    § 132 (“No amendment shall introduce
    new matter into the disclosure of the invention.”); see also Defs. Reply Br. at 16 n.13.

            By contrast, Plaintiffs contend that each amendment did not contain new matter and that

    the USPTO properly approved the valid amendments. Pls. Br. at 16 n.2, 18 n.3; PFOF          ¶J 11-14.
    Plaintiffs maintain that the amendment to include the PTA 7942 plasmid, which encodes the

    sequence reported in Smith 1990, complies with USPTO rules because the plasmid (1) contains

    p75 cDNA that was identified in the original specification as variants of a “DNA sequence{]

    encoding the 75/65 kD,” (2) was made prior to August 1990, and (3) was properly deposited with

    the ATCC in 2006. PIs. Br. at 16 n.2; PFOF ¶J 11-14.

            The Court concludes that the deposited PTA 7942 plasmid was properly made part of the

     Patents-in-Suit and did not add new matter. The Federal Circuit has held that where information


    “‘
       Defendants appear to have relinquished their anticipation argument, which focused on PTA
    7942, because their expert on the topic, Dr. Blobel, did not provide related testimony at trial and
    their post-trial briefs relegate the substance of the argument to a footnote. See Defs. Br. at 35 n.5.
    Invalidity based on anticipation “requires that the same invention, including each element and
    limitation of the claims, was known or used by others before it was invented by the patentee.”
    Hoover Grp., Inc. v. Custom Metaicraft, Inc., 66 F.3d 299, 302 (fed. Cir. 1995). To the extent
    they maintain an anticipation argument, Defendants argue that claims 35-36 of the ‘182 Patent,
    which specifically claim the 2006 PTA 7942 plasmid deposit, are invalid for anticipation because
    Enbrel® had been on sale and publicly available for 8 years at the time of the amendment. Defs.
    Br. at 35 n.5. The USPTO Board’s allowance of the amendment and specific finding that it did
    not add new matter is “entitled to an especially weighty presumption of correctness in a subsequent
    validity challenge based on the alleged introduction of new matter.” See Commonwealth Sc &
    Indus. Research Org. v. Bifjalo Tech. (USA), Inc., 542 F. 3d 1363, 1380 (Fed. Cir. 2008)
    (quotation marks omitted); see also Pis. Br. at 16 n.2. Accordingly, insofar as Defendants maintain
    this anticipation argument, it has not been proven by clear and convincing evidence.

                                                     23
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 24 of 85 PageID: 22136




     is properly deposited with an independent source, “[a]n accession number and deposit date add

     nothing to the written description of the invention” and are therefore, not considered new matter.

     In re Lundak, 773 F.2d 1216, 1223 (Fed. Cir. 1985).                                 Further, the deposited plasmid was

     appropriately made part of the Patents-in-Suit as of their 1990 priority dates because as long as

     the plasmid was described in the application as-filed, it is not considered new and may be

     deposited at any time before issuance. See In re Lundak, 773 F.2d at 1222-23 (“Lundak’s deposit

     with the ATCC, which was made after filing but prior to issuance of his patent, and which is

     referred to in his specification, meets the statutory requirements.”); see also 37 C.F.R.                      § 1.804(a)
     (“   .   .
                  .   an original deposit   .   .   .   may be made   .   .   .   subject to   § 1.809, during pendency of the
     application for patent.”).’8               The Court agrees with the USPTO and fmds that the properly

     deposited plasmid reflected one of these variants and did not add new matter. Accordingly, the

     Court fmds that Plaintiffs’ amendments adequately described the inventive concept at the time of

     the invention.

                  As to the Smith 1990 incorporation, the Court does not find that Immunex’s decision to

     amend is proof that the original specifications were deficient. As discussed above, the Court finds

     that the Smith 1990 protein was sufficiently described when it was originally referred to and did

     not need to be amended to expressly incorporate it by reference. See, e.g., Falkner, 448 f.3d at

     1365 (finding that “the absence of incorporation by reference is not problematic.”). The Court

     therefore fmds that the amendments to the Patents-in-Suit were proper and do not alter the written

     description analysis.




                   argue that the amendment occurred much sooner in time in Lundak than in the instant
    case, however, the Court has not been provided with any legal authority to suggest a time limit on
    specification amendments during the course of prosecution of a patent. See Defs. Br. at 13 n. 11.

                                                                  24
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 25 of 85 PageID: 22137




                            2.     The Specification Enables Etanercept

           finally, Defendants argue that the claims of the Patents-in-Suit are not enabled. DFOF         ¶
     180; Defs. Br. at 35. Plaintiffs assert that Defendants’ enablement challenge fails because the

     Patents-in-Suit identify both p75 TNFR and IgGi (which were well-known), sufficiently describe

     how to combine them to enable a POSA to produce etanercept, and Defendants’ own experts

     concede that a POSA could have produced the claimed fusion protein without undue

     experimentation by using known methods as of August 1990. See Pls. Br. at 2, 2 1-22; see also

     9/12 PM (Blobel) Tr. at 53:19-56:13; 9/13 PM (Capon) Tr. at 61:22-62:16.

           To be enabling, “[t]he specification must ‘enable one of ordinary skill in the art to practice

    the claimed invention without undue experimentation.”              Transocean Offshore Deepwater

    Drilling, Inc. v. Maersk Contractors USA, Inc., 617 F.3d 1296, 1305 (Fed. Cir. 2010) (quoting

    Nat’l Recovery Techs., Inc. v. Magnetic Separation Sys., Inc., 166 f.3d 1190, 1196 (Fed. Cir.

     1999)). “Enablement is not precluded by the necessity for some experimentation such as routine

     screening.” In re Wands, $58 F.2d at 736-37. However, the experimentation needed to practice

    the art must not be undue. Id. at 737. The test for undue experimentation “is not merely

    quantitative, since a considerable amount of experimentation is permissible, if it is merely routine,

    or if the specification in question provides a reasonable amount of guidance with respect to the

    direction in which the experimentation should proceed.” Id. To determine whether a disclosure

    would require undue experimentation, courts should consider the Wands factors, which include:

    (1) the quantity of experimentation necessary; (2) the amount of direction or guidance presented;

    (3) the presence or absence of working examples; (4) the nature of the invention; (5) the state of

    the prior art; (6) the relative skill of those in the art; (7) the predictability or unpredictability of

    the art; and (8) the breadth of the claims. Id.



                                                      25
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 26 of 85 PageID: 22138




               The Court finds that Defendants have failed to show by clear and convincing evidence that

        the Patents-in-Suit do not meet the enablement standard. Preliminarily, both parties agree to a

        POSA’s relative skill in the art, and each party used nearly identical defrnitions and qualifications

        for their respective hypothetical POSA. Compare 9/11 PM (Blobel) Tr. at 30:24-32:5 with 9/20

        AM (Wall) Tr. at 18:6-25.’ Specifically, the parties’ experts agreed that the p75 protein and the

        exon-encoded hinge-CH2-CH3 portion of the IgGi immunoglobulin sequences were known

        before August of 1990, which is the initial date of the applications. 9/11 PM (Blobel) Tr. at 14:19-

        15:5 (Dr. Blobel noting that the claims in the ‘182 Patent were directed at “essentially

        etanercept”); 9/20 AM (Wall) Tr. at 19:2-12, 92:16-93:2 (Dr. Wall explaining that the components

        of etanercept were known by August 1990). Both of Defendants’ experts, namely Dr. Blobel and

    Dr. Capon, agreed that a POSA in 1990 would have been able to produce a fusion protein that is

    similar to etanercept. 9/12 PM (Blobel) Tr. at 55:20-56:5 (Dr. Blobel testifying that a POSA

    would have been able to produce a fusion protein similar to etanercept using “ordinary and routine

    methods utilized in the art”); 9/13 PM (Capon) Tr. at 73:5-14 (Dr. Capon testifying to the same).

    These experts also testified that the claim scope is both limited to and covers etanercept. 9/11

    PM (Blobel) Tr. at 14:19-15:5; 9/13 PM (Capon) Tr. at 82:22-83:3. Regarding the state of the art

    at the time of the invention, the parties explicitly agreed that technology relating to recombinant

    DNA was developed by 1990 and allowed for the creation of fusion proteins like etanercept. 9/12

    PM (Blobel) Tr. at 54:13-56:13 (Dr. Blobel testifiing regarding the state of the art in August

    1990); see also ECF No. 688 at 65      ¶ 247.


   t9
     Plaintiffs cite to expert Randolph Wall, Ph.D. as part of their enablement argument. Dr. Wall is
   an expert in the fields of immunology, molecular biology, and antibody engineering. (ECF No.
   688 at 122 ¶ 22). Plaintiffs more heavily rely on his testimony on obviousness and therefore he is
   fully introduced in the obviousness section of this Opinion.

                                                       26
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 27 of 85 PageID: 22139




              Furthermore, the Patents-in-Suit, and in particular the ‘522 Patent, provide a POSA with

     sufficient guidance on how to make etanercept. Specifically, both Patents-in-Suit explain to a

     POSA how to prepare a cDNA encoding the extracellular region of the known p75 protein. ‘182

     Patent (JTX-1) col. 16:22-48, 5:22-24, 7:24-46; 9/18 AM (Naismith) Tr. at 60:13-62:6; 9/18 PM

     (Naismith) Tr. at 53:12-54:6; 9/20 AM (Wall) Tr. at 93:14-94:16. The specifications also provide

     a POSA with information regarding how to prepare a cDNA encoding all of the domains of a

    human IgGi constant region, except the first, including identifying a publicly accessible

     exemplary vector pCD4-Hyl. ‘182 Patent (JTX-1) coY. 8:56-9:3; 9/20 AM (Wall) Tr. at 94:17-

     95:19.

              Finally, Plaintiffs’ witnesses Dr. Naismith and Dr. Loetscher credibly testified that the ‘182

    Patent directs a POSA to follow the recipe set forth in Example 11 contained in the specification.

    9/17 (Loetscher) Tr. at 56:5-9 (Dr. Loetscher noting that the example “describe[s] the process [of]

    how to make TNF receptor fusion proteins”); 9/18 AM (Naismith) Tr. at 53:22-54:2. Defendants’

    expert Dr. Capon even appeared to acknowledge that Example 11 in conjunction with the prior

    art would have enabled a POSA to construct etanercept. See 9/13 PM (Capon) Tr. at 72:3-73:14.

    Hence, as Plaintiffs submit, a POSA could have easily made the claimed fusion protein (i.e., a

    fusion protein that had the extracellular region of the p75 receptor with an exon-encoded hinge

    and the CH2-CH3 region of the IgGi immunoglobulin) of the ‘182 Patent in or before August

    1990 with only routine experimentation by adapting Example 11 to make the claimed fusion

    protein. 9/17 (Loetscher) Tr. at 58:18-59:5; 9/18 AM (Naismith) Tr. at 93:12-22 (Dr. Naismith

    explaining that a POSA would have been able to make Example 11 in August of 1990); 9/20 AM

    (Wall) Tr. at 95:17-19 (Dr. Wall testifying that a POSA would have “been able to adapt Example

    11 to make the claimed fusion protein.”); JTX-82 (Lesslauer Deposition) at 298:11-14, 17. The



                                                       27
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 28 of 85 PageID: 22140




      Court finds that based on this evidence, Defendants have not met their burden of proving by clear

         and convincing evidence that the Patents-in-Suit fail to meet the enablement standard.

                   B. Obviousness (35 U.s.c.     §   103)

               To prove that an asserted claim of a patent is invalid as obvious under 35 U.S.C.         § 103, a
    patent challenger bears the burden of establishing by clear and convincing evidence that the

    “differences between the subject matter sought to be patented and the prior art are such that the

    subject matter as a whole would have been obvious at the time the invention was made to a

    [POSA].”2° 35 U.S.C.       § 103(a); see also Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1360-61 (fed.
    Cir. 2007). Obviousness is a question of law that is predicated on several factual inquiries. See

    Graham v. John Deere Co. of Kansas City, 383 U.S. 1, 17 (1966). Specifically, there are four

    basic factual inquiries which concern: (1) the scope and content of the prior art; (2) the level of

    ordinary skill in the art;21 (3) the differences between the claimed subject matter and the prior art;

    and (4) objective indicia (secondary considerations) of non-obviousness, including unexpected

    results, success and praise in the industry, long-felt but unsolved need, failure of others, and other

    indicia. See id.

               Defendants assert that the Patents-in-Suit are invalid because they are obvious in view of

    prior art that would have motivated a POSA to create etanercept prior to the relevant patent




    20
         The pre-America Invents Act version of 35 U.S.C.        § 103 applies to the Patents-in-Suit.
    21
      The parties agree as to the level of ordinary skill in the art. Defendants present that a PO$A is
    “a scientist with an M.D. or a Ph.D. degree in biology, molecular biology, biochemistry, chemistry,
    or a similar field.” 9/11 PM (Blobel) Tr. at 30:14-3 1:18. Such a person would ‘have one to two
    years of experience in the field of immunology or molecular immunology, including experience
    with cloning and expression of DNA, protein biochemistry on cell culture, protein purification,
    and immunological assays.” Id. Plaintiffs offered a definition that is not materially different. See
    9/20 AM (Wall) Tr. at 18:5-22; Pls. Br. at 24.

                                                            28
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 29 of 85 PageID: 22141




    applications.22 Defs. Br. at 35-43; see also Defs. Reply Br. at 19-22. At trial, Defendants asserted

    six obviousness combinations of prior art references, two of which disclose the protein sequence

    of, and the DNA sequence that encodes, the p75 extracellular region (Smith 1990 and Immunex’s

    U.S. Patent No. 5,395,760 (JTX-65) (the “Smith ‘760 Patent”)). PFOF ¶ 147. The other asserted

    prior art references disclose Ig fusion proteins, which combine a receptor protein with various

    portions of an Ig heavy chain. Id. Specifically, the first five (5) combinations are the Smith ‘760

    in view of: (1) the Seed European Patent Application No. 0325262 (“Seed ‘262”); (2) Byrn, R. et

    al., Biological Properties of a CD4 Immunoadhesin, Nature 344: 667-70 (1990) (“Bryn 1990”);

    (3) Watson, S. et al., A Homing Receptor-IgG Chimera as a Probefor Adhesive Ligands ofLymph

    Node High Endothelial Venules, J. Cell. Bio. 110: 2221-2229 (1990) (“Watson 1990”); (4) the

    Karjalainen European Patent Application No. 0394827 (“Karjalainen ‘827”); and (5) the Capon

    U.S. Patent No. 5,116,964 (“Capon ‘964”) in further view of Traunecker, A. eta!., Highly Efficient

   Neutralization of HIV with Recombinant CD4-immunoglobtin Molecules, Nature 339: 68-70

    (1989) (“Traunecker 1989”). The sixth combination was Smith 1990 in view of Watson. Id.           ¶
    147 n.3. Defendants’ post-trial arguments regarding these prior art references focus on motivation.

    Defs. Br. at 35 (“[T]he only real dispute as to obviousness of the asserted claims concerned

    motivation.”).   The Court has examined the asserted prior art references both alone and in

    combination, as discussed below, to determine motivation and whether it would have been obvious

   to a POSA to create etanercept.

           In addition, Defendants argue that certain secondary considerations prove, rather than

   refute, that the Patents-in-Suit are invalid for obviousness. Id. at 44-50. In support of their


   22
     The Court notes that the USPTO considered these prior art references and concluded that the
   Patents-in-Suit were not obvious in light of these references. 9/12 AM (Blobel) Tr. at 33:25-39:4;
   PTX-1089 at 19; PTX-6.456 at 7-8.

                                                   29
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 30 of 85 PageID: 22142




    obviousness arguments, Defendants primarily rely on (1) Dr. Blobel, introduced above; and (2)

    Arne Skerra, Ph.D, Chair of Biological Chemistry at the Technical University of Munich, Center

    of Life Sciences at Weihenstephan, Freising, Germany. ECF No. 688 at 131-32       Jf 43,
            Plaintiffs contend that Defendants’ obviousness arguments fail because a PO$A would not

    have been motivated to create etanercept based on the prior art and, in fact, would have actually

    been dissuaded by the prior art to create a TNFR-Ig fusion protein to treat inflammation. PIs. Br.

    at 22-23. further, Plaintiffs counter each of Defendants’ secondary consideration arguments as

    set forth below and contend that the secondary considerations support nonobviousness. Id. at 33-

    39. Plaintiffs rely on (1) Randolph Wall, Ph.D., a Distinguished Professor in the Department of

    Microbiology, Immunology, and Molecular Genetics at the Molecular Institute, University of

    California at Los Angeles (UCLA) and the David Geffen School of Medicine at UCLA, as an

    expert on obviousness (ECF No. 688 at 122     ¶ 22);   and (2) Warner C. Greene, M.D., Ph.D., the

    Founder and Director of the Gladstone Institute of Virology and Immunology in San Francisco

    and a Distinguished Professor of Translational Medicine with over 40 years of experience in

    biomedical research, as an expert on etanercept’s effect on the immune system (Id. at 124-25      ¶
    29).


    23
        Plaintiffs assert that the testimony of Defendants’ expert Dr. Btobel shouLd be compLetely
    disregarded because he ignored the agreed upon claim construction. Pis. Br. at 23-24; ECF No.
    688 at 20 ¶ 68. While the parties agreed to construe the claim term “all of the domains of the
    constant region of a human immunoglobulin IgG[ 1] heavy chain other than the first domain of said
    constant region” as having a three-cysteine hinge (“the exon-encoded-hinge-CH2-CH3 region of
    human [IgG/IgGl]”), Dr. Blobel inconsistently testified that a two-cysteine hinge would be within
    the scope of the claims of the Patents-in-Suit. 9/12 AM (Blobel) Tr. at 30:19-24; ECF No. 688 at
    20 ¶ 68. Although an obviousness analysis based on “an incorrect understanding of the claim
    construction” may be disregarded, the Court will still consider Dr. Blobel’s testimony to the extent
    it is not inconsistent with the agreed upon claim construction, including his testimony about other
    fusion proteins referenced in the prior art and testimony about what would have motivated a POSA
    to create etanercept before August 1990. See Cordis Corp. v. Bos. Sd. Corp., 658 F.3d 1347,
    1357-58 (Fed. Cir. 2011).

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 31 of 85 PageID: 22143




           For the reasons discussed below, the Court finds that Defendants have failed to prove by

    clear and convincing evidence that the Patents-in-Suit are invalid based on obviousness pursuant

    to 35 U.S.C.   § 103.
                            1.    Scope of the Prior Art and Differences Between the Prior Art and
                                  the claimed Invention

           The Patents-in-Suit provide for a fusion protein, etanercept (‘182 Patent), consisting of the

    extracellular portion of a p75 TNFR combined with a three-cysteine, exon-encoded hinge-CH2-

    CH3 portion of an IgGI, and a method of making this fusion protein (‘522 Patent). See generally

    ‘182 Patent (JTX- 1) and ‘522 Patent (JTX-2). Therefore, to prove obviousness, Defendants have

    to show by clear and convincing evidence that the claimed invention, which consists of a precise

    combination of specific portions of p75 TNFR and IgGl, would have been obvious to a POSA.

           Defendants point to various scientific publications and patent applications that they

    contend render the claimed invention obvious. Some of these prior art references relate to p75

    TNFRs—Smith 1990 and Smith ‘760—and others disclose Ig fusion proteins without p75—Capon

    1989, Traunecker 1989, Seed ‘262, Capon ‘964, Bym 1990, and Watson 1990. DFOF ¶J 208-09,

   217-20. Defendants contend that a POSA would have been motivated, when viewing these

   references alone and in combination, to select p75 and IgGl and combine them to create

   etanercept. Id.; Defs. Br. at 37-41. According to Plaintiffs, these references would not have

   motivated a POSA to make the precise construct of etanercept because there was no clear direction

   in the prior art, and in fact, the prior art would have taught away from creating etanercept. Pis. Br.

   at 24-29. The Court will address the prior art concerning both TNFRs and Ig fusion proteins

   individually and then discuss the motivation to combine the two elements in the specific way

   necessary to create the claimed invention.




                                                    31
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 32 of 85 PageID: 22144




                                      a) The Prior Art Would Not Have Motivated a FOSA to Select the
                                         Individual Components of Etanercept, and in fact Taught Away
                                         from Using these Components

                                            i.      Selecting p75 TNFR

              The Patents-in-Suit identify p75 TNFR as one of the two components of etanercept, a

    fusion protein used to treat rheumatoid arthritis. As noted above, rheumatoid arthritis is an

    inflammatory autoimmune disease that arises when an overactive immune system attacks a

    person’s own body. PFOF            ¶ 32;     9/12 AM (Blobel) Tr. at 39:24-40:2. Chronic inflammation in

    rheumatoid arthritis patients causes bone erosion and also destroys tendons and ligaments. PFOF

    ¶J    33-34. As such, scientists studying auto-immune disorders, such as rheumatoid arthritis, in

    1990 were seeking to reduce inflammation by interrupting the body’s immune system. 9/20 AM

    (Wall) Tr. at 39:24-40:3.

              According to scientists, there was a prevailing view at the time that many cytokines,

    including TNF, were thought to be involved in excess inflammation. PTX-34 at 6 (“It is a

    misconception to think that TNF[] was an obvious therapeutic target in the early 1 990s since it is

    pro-inflammatory.     .   .“).   As previously discussed, cytokines are messenger proteins with a wide

    variety of functions in the body. PFOF ¶ 27. TNF was one of dozens of cytokines Imown in 1990.

    Id.   ¶ 28.   Critically, the prior art demonstrates that researchers at the time were concerned that

    TNfRs could aggravate pro-inflammatory responses by binding TNF and then releasing it back

    into the body in active form, causing inflammation. 9/20 AM (Wall) Tr. at 28:24-33:15. At trial,

    Dr. Wall testified that this would be “a very undesirable outcome” for a POSA trying to block

   inflammation possibly caused by excess TNF.                   Id.   Because the treatment of auto-immune

   disorders was based on trying to inhibit inflammation caused by the TNF response, a POSA would

   have been discouraged from using TNFR as a treatment option.



                                                            32
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 33 of 85 PageID: 22145




           Additionally, a POSA in 1990 would have considered cytokines to be “poor therapeutic

    targets” and therefore TNFR would not have been an obvious choice. PFOF           ¶   149; 9/20 AM

    (Wall) Tr. at 20:4-10. By August of 1990, the art had identified several cytokines and discovered

    that these cytokines were redundant, which means that they had “overlapping functions.” 9/20

    AM (Wall) Tr. at 37:16-25. Because of this redundancy, a POSA would not have considered any

    individual cytokine to be a good therapeutic target because it was understood that if you blocked

    one cytokine, another cytokine would be able to fill in the missing function, thereby eliminating

    any beneficial effect. Id. Moreover, cytokines, including 1ThW, were difficult to study due to their

    many different roles in the body, causing their function in treating various diseases to remain

    unclear. Id. at 21:7-22:18. Furthermore, if a POSA targeted cytokines at all, a POSA would have

    looked to a different cytokine, called IL-i, to treat inflammatory diseases because IL-i was known

    in August 1990 to have stronger potential as a mediator in rheumatic diseases. Id. at 23:17-24:14;

    PTX-10 at 8.

           However, even if TNFR were chosen as the starting point, it would not have been obvious

    to use a p75 TNFR. The parties agree that at least two TNF receptors were known as of August

    1990, namely p55 and p75. PFOF ¶J 36-37; DFOF ¶ 2. Much of the literature at the time showed

    that p55 bound TNF with five times greater strength than p75 and was superior in neutralizing

    TNF. PFOF      ¶   153; JTX-47 at 3; 9/18 PM (Greene) Tr. at 108:21-109:24. Equipped with this

    knowledge, a POSA deciding to select TNFR to treat pro-inflammatory diseases would have likely

    used p55. Id. Finally, even assuming a POSA decided to use p75 instead of p55, a POSA would

    have also had to decide between the soluble and insoluble form of p75, which could be a partial or

    full-length extracellular region of the p75 TNFR. PFOF     ¶J   154, 157; 9/12 PM (Blobel) 15:2 1-

    17:6; Smith 1990 (JTX-24) at 4; Smith ‘760 Patent (JTX-65) col. 4:12-21, 9:17-60.



                                                    33
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 34 of 85 PageID: 22146




                                    ii.   Selecting IgGi

           The second necessary element of etanercept is the exon-encoded, three-cysteine hinge

    CH2-CH3 domain of an IgG 1. At the time etanercept was being created as a possible treatment

    for auto-immune disorders like rheumatoid arthritis, researchers were also studying Ig fusion

    proteins as a viable treatment option to combat the HW/AIDS epidemic. PFOF ¶ 171.

    Hill/AIDS is a disease that greatly weakens or destroys the immune system so that the immune

    system becomes unable to kill Hill-infected cells on its own. Id.      ¶J 17 1-72. Therefore, the goal
    of Hill/AIDS treatment was to trigger pro-inflammatory responses in the immune system to kill

    the Hill-infected cells within the body. Id.   ¶ 173.
           By August of 1990, prior art related to HIV/AIDS research demonstrated that Ig caused

    increased inflammation and aggregation, the opposite objective of treatment for auto-immune

    conditions. According to the prior art, Ig fusion proteins were effective in eliciting pro

    inflammatory responses in the body, known as effector functions. Id. ¶j 173-75; 9/18 PM

    (Greene) Tr. at 72:13-74:13, 77:17-78:2. There are two pro-inflammatory effector functions,

    which are separate, complex pathways by which the immune system kills other cells. PFOF ¶

    26. First, the pathway known as complement dependent cytotoxicity (“CDC”) pertains to the

    effector functions trigged by the CH2 domain. Id.       ¶ 174. Second, the pathway known as
    antibody dependent cellular cytotoxicity (“ADCC”) refers to the effector functions triggered by

    the junction between the CH2 domain and the hinge. Id. The Hill/AIDS research at the time

    demonstrated that Ig fragments in fusion proteins successfully triggered both CDC and ADCC

    effector functions within the immune system. Id.        ¶ 173; 9/18 PM (Greene) Tr. at 76:8-77:2.
           Against this backdrop, a POSA studying auto-immune diseases would have avoided Ig

    because the inflammatory immune response elicited by Ig fusion proteins was extremely



                                                      34
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 35 of 85 PageID: 22147




    undesirable. In fact, six of the asserted prior art references cited by Defendants, all of which

    discuss using Ig to increase inflammatory responses in the body, would have taught a POSA to

    look away from Ig fusion proteins as a potential treatment option for auto-immune disorders. See

    Capon 1989 (JTX-58), Traunecker 1989 (JTX-25), Seed ‘262 (JTX-57), Capon ‘964 (JTX-61),

    Byrn 1990 (JTX-56), and Watson 1990 (JTX-59).24

           For example, in his 1989 article, Defendants’ expert Dr. Capon reported experimental

    results of CD4-Ig fusion proteins that successfully triggered pro-inflammatory immune responses

    in HW-infected patients by eliciting effector functions. JTX-58 at 4 (demonstrating that effector

    functions were “found in the constant region of the heavy chain”). The Traunecker 1989 prior art

    reference found a similar result with CD4-Ig fusion proteins using mouse IgG2a and mouse 1gM

    sequences. JTX-25 at 1-2; 9/12 AM (Blobel) Tr. at 51:11-16; 9/18 PM (Greene) Tr. at 84:12-19;

    9/20 AM (Wall) Tr. at 56:24-57:13. Published in July 1989, Seed ‘262 described CD4-Ig fusion

    proteins designed to treat HW/AIDS patients and emphasized the importance of preserving


    24
      Although Watson 1990 (JTX-59) concerned studies outside of the body for which effector
    functions would not be relevant and therefore were not specifically discussed, similar constructs
    to those discussed in Watson 1990 (e.g., Byrn 1990) were demonstrated through experimental
    evidence to have retained cell-killing effector functions. 9/20 AIvI (Wall) Tr. at 61:9-13, 259:12-
    22; JTX 59 at 3, 8.

    Defendants also cite to Karjalainen ‘827, a European patent application published in October
     1990. JTX-60 at 1; PFOF ¶ 191. The parties’ experts agreed that this reference is not prior art
    for purposes of their analysis. 9/12 AM (Blobel) Tr. at 84:3-12; 9/20 AM (Wall) Tr. at 84:11-16.
    Moreover, Karjalainen ‘827 is exempt as prior art under § 103(c)(1) because the inventors of
    Karjatainen ‘$27 and the Patents-in-Suit “were at the time the claimed invention was made..
    [both] subject to an obligation of assignment to the same person,” F. Hoffmann-La Roche AG.
    35 U.S.C. § l03(c)(1) (“Subject matter developed by another person. shall not preclude
                                                                           .   .


    patentability under this section where the subject matter and the claimed invention were, at the
    time the claimed invention was made, owned by the same person or subject to an obligation of
    assignment to the same person.”); 9/17 (Loetscher) Tr. at 21:1 1-13; JTX-3 at 875-79; JTX-4 at
    706-10; JTX-60 at I. In any event, Karjatainen ‘$27 also taught use of a CD4-Ig fusion protein
    to elicit effector functions to treat AIDS. PFOF ¶ 192.


                                                    35
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 36 of 85 PageID: 22148




    effector functions to properly combat HP/-infected cells. JTX-57 at 5. Similarly, Capon ‘964

    described many different Ig fusion protein configurations that were intended to retain effector

    functions.    JTX-61 col. 4:43-47; 9/12 AM (Blobel) Tr. at 60:24-61:13; PFOF            ¶J   185-86.

    Moreover, Bym 1990 provided experimental evidence demonstrating that a protein with only a

    partial Ig hinge would still successfully induce ADCC effector functions. JTX 56 at 1-2; 9/12 AM

    (Blobel) Tr. at 70:18-71:16; 9/18 PM (Greene) Tr. at 87:5-19. Based on these prior references, a

    POSA would have refrained from using Ig fusion proteins for anti-inflammatory treatments, which

    sought to reduce effector functions in the body.

            Defendants also assert that the Patents-in-Suit are obvious in light of the combination of

    Watson 1990 and Smith 1990. PFOF       ¶   147 n.3. Smith 1990 disclosed the amino acid sequence

    of p75 TNFR but did not suggest using p75 TNFR in a fusion protein. DFOF         ¶ 4.   Moreover,

    Watson 1990 also did not contemplate a TNFR-Ig fusion protein and instead discussed a construct

    with a partial region of an Ig fused with a receptor known as a lymphocyte homing receptor. JTX

    59 at 1-3; 9/20 AM (Wall) Tr. at 61:9-13; PFOF ¶ 194. Therefore, a POSA looking to these two

    prior art references either individually or in combination would not have been motivated to create

    etanercept.

           Defendants further point to Capon ‘964 and additional prior art, namely Brennan 1989, to

    assert that researchers at the time were not concerned about the negative effects from effector

    functions. DFOF    ¶   22627.25 However, prior art published in June 1990 shows that effector

    functions were in fact a concern with Ig fusion proteins at the time of the invention. See Gerd



   25
      It appears that many of the prior art references cited by the Defendants used to support the
   modification of Smith ‘760 were published prior to Smith ‘760. PIs. Reply Br. at 12 (noting that
   Traunecker 1989, Seed ‘262, Capon ‘964, and Byrn 1990 were published before Smith ‘760 and
   did not motivate the Smith ‘760 inventors to remove the light chain or CH1 domain).

                                                    36
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 37 of 85 PageID: 22149




    Zettimeissi, et a!., Expression and Characterization of Human CD4: Immunoglobulin Fusion

    Proteins, DNA & Cell Biology 9: 347-53 (1990) (PTX-26 at 5-10) (discussing CD4-Ig fusion

    proteins created to treat HF//AIDS and reporting that “one of the most important issues

    confronting” Ig fusion proteins was “the extent of autoimmune damage” caused by effector

    functions); see also 9/12 AM (Blobel) Tr. at 81:15-83:13.            Additionally, a well-known

    immunology textbook by William E. Paul and Dr. Wall’s credible testimony further demonstrate

    that a POSA would have expected that pro-inflammatory effector functions would have been

    triggered when a fusion protein, like etanercept, attached to a soluble TNF. See Paul, William E.,

    Fundamental Immunology (2d ed., Raven Press 1989) (PTX-3); 9/20 AM (Wall) Tr. at 46:18-

    48:22, 49:6-53:8. Furthermore, the fact that the papers cited by Defendants did not report effector

    functions as problematic is reasonable in the context of HF//AIDS research where effector

    functions were a desired result, rather than an obstacle. Thus, the Court finds that a POSA would

    have expected from the prior art that an Ig fusion protein could lead to autoimmune damage caused

    by effector functions. 9/20 AM (Wall) Tr. at 39:14-40:9, 59:3-18; 9/18 PM (Greene) Tr. at 90:25-

    91:16.

             The prior art also taught that Ig fusion proteins would cause another detrimental effect,

    known as aggregation, in patients with inflammatory conditions. Plaintiffs’ expert in immunology,

    Dr. Greene, opined that an Ig fusion protein would likely cause aggregation—the formation of

    large immune complexes in the human body—that would then lead to increased inflammation in

    the kidney, skin, and joints. 9/18 PM (Greene) Tr. at 98:1-16, 137:4-12. Based on the prior art, a

   POSA would have believed that an Ig fusion protein, like etanercept, would have likely aggregated

    and caused an inflammatory response, as Defendants’ expert Dr. Blobel similarly opined. 9/18

   PM (Greene) Tr. at 70:17-71:2; see also 9/12 AM (Blobel) Tr. at 53:23-54:24 (testifying that



                                                    37
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 38 of 85 PageID: 22150




    researchers at the time were intentionally creating CD4-Ig fusion proteins to cause aggregation

    and attack infected cells). Therefore, a POSA would have refrained from selecting Ig for the

    treatment of auto-inmuine disorders because it was shown to increase aggregation, resulting in

    heightened inflammation.

            Additionally, a POSA seeking to avoid using Ig at the time would have had a number of

    non-Ig options to achieve desirable outcomes while avoiding effector functions. PFOF ¶ 155. In

    fact, prior art at the time suggested joining proteins with polyethelene glycol (“PEG”), a non-Ig

    option that did not cause effector functions and was also associated with longer half-lives and

    better drug properties at that time. Id.; 9/20 AM (Wall) Tr. at 68:19-70:24; see, e.g., Smith ‘760

    Patent (JTX-65) col. 10:39-44. By August 1990, numerous PEG-modified proteins were in clinical

    trials and at least one PEGylated compound had been approved by the FDA. PFOF         ¶   155; 9/20

    AM (Wall) Tr. at 68:22-70:24; see Smith ‘760 Patent (JTX-65) col. 10:35-53. Given that the prior

    art showed that Ig was increasing inflammation, PEG was a more obvious choice to use in a fusion

    protein than 1g.

           Nevertheless, even if a POSA was undeterred by the research that predicted an

    inflammatory response and decided to create an Ig fusion protein, a PO$A would have had

   numerous options when determining what type and conformation of Ig to select. While etanercept

   used IgG 1, there were many alternative Ig constructions that a POSA could have selected, none of

   which was more obvious than the other. For example, a POSA would have had to choose from

   many known classes of immunoglobulins (Ig), such as IgG, and further choose between the

   subclasses of IgG, including IgGi, IgG2, IgG3, and IgG4. 9/18 AM (Naismith) Tr. at 51:11-13;

   see supra I.B.1. Moreover, a POSA would have had to consider and decide between the variety

   of Ig conformations in the prior art including a full hinge, an exon-encoded hinge, a two-cysteine



                                                   38
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 39 of 85 PageID: 22151




    hinge, or no hinge. PFOF ¶ 159; 9/20 AM (Wall) Tr. at 82:24-83:8; see also 9/12 PM (Blobel) Tr.

    at 34:5-13, 39:24-40:11 (Dr. Blobel testifying that it was “not so obvious” to use a three-cysteine

    hinge as opposed to a two-cysteine hinge). finally, as reflected in the prior art above, a POSA

    selecting Ig would have had to decide whether to use a linker, and if so, would have also had to

    determine which length to use.        PFOF   ¶   159; 9/20 AM (Wall) Tr. at 82:1-4, 88:17-90:1.

    Accordingly, a POSA choosing to select Ig, despite the scientific research teaching that this was

    not a desirable option, would still have had many different variations and configurations of Ig to

    opt for when creating the fusion protein. Defendants have failed to sufficiently prove by clear and

    convincing evidence that it was obvious for a POSA to select IgGi, as used in etanercept, among

    all of these alternatives.

                                 b) It Would Not Have Been Obvious to a FOSA to Combine p75 with
                                    the Exon-Encoded Hinge-CH2-CH3 Region of IgG]

            Furthermore, even assuming it was obvious to select both p75 ThFR and IgGl, a claim

    cannot be held obvious merely because its elements were independently known in the prior art.

    KSR Int’l Co. v. Teleftex, mv., 550 U.S. 398, 418-19 (2007); Polaris Indus., Inc. v. Arctic Cat, Inc.,

    882 F.3d 1056, 1068 (Fed. Cir. 2018) (stating that the “genius of invention is often a combination

    of known elements which in hindsight seems preordained”). Defendants must prove by clear and

    convincing evidence that a POSA would have been motivated to combine the essential components

    from the prior art teachings to create the claimed invention, and would have had a reasonable

    expectation of success in doing so. Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876

    F.3d 1350, 1359-61 (Fed. Cir. 2017).

           Moreover, Defendants must show by clear and convincing evidence that a POSA would

   have been motivated to combine the specific parts of each component that make up the claimed

   invention, rather than only showing it was obvious to combine p75 and IgG 1. See Id. (fmding that


                                                     39
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 40 of 85 PageID: 22152




    the required motivation is a motivation to combine prior art to achieve the particular claimed

    invention). Merely combining p75 TNFR and IgGi would not have resulted in etanercept because

    the claimed invention specifically joins the extracellular region of p75 and only a portion of IgGi,

    namely the exon-encoded hinge-CH2-CH3 domain. ‘I $2 Patent (JTX- 1) ;‘522 Patent (JTX-2).

    Therefore, Defendants must demonstrate that a POSA would have been motivated to create the

    precise TNRf-IgG 1 construct that is etanercept.

           As addressed above, the prior art cited by Defendants taught that Ig fusion proteins

    activated effector functions leading to inflammation in the body. See supra III.B. 1 .a.ii. Given this

    prior art, a POSA would have expected a fusion protein combining TNFR and IgGi to lead to

    autoimmune damage caused by effector functions. 9/20 AM (Wall) Tr. at 39:14-40:9, 56:7-16;

    9/18 PM (Greene) Tr. at 90:25-91:16. Therefore, for all of the reasons stated above, a POSA

    looking to treat an autoimmune condition, such as rheumatoid arthritis, would have been dissuaded

    from combining TNFR with IgGl.

           Despite the prior art, Defendants assert that a POSA would have been motivated to combine

    p75 and IgG 1 to produce etanercept because this combination was already described in the Smith

    ‘760 Patent. Defs. Br. at 37. However, this argument fails because, as discussed below, (1) Smith

    ‘760 was an unconstructed, untested chimeric antibody that would not have been an obvious

    starting point; (2) the Smith ‘760 construct was distinct from etanercept; and (3) a POSA would

    not have been motivated to modify Smith ‘760 in the precise ways necessary to create etanercept.

                                     1.   A POSA Would Not Have Ignored the Prior Art
                                          Concerning Effector Functions in Ig Fusion Proteins
                                          Because ofthe Smith ‘760’s Hypothetical Antibody

           First, the Smith ‘760 Patent, filed in May 1990, described a hypothetical construction of a

    TNFR-IgGl chimeric antibody that was never made. PFOF ¶ 164; DFOF ¶ 210; 9/12 PM (Blobel)

    Tr. at 84:5-7. There is no prior art that suggests exactly how the Smith ‘760’s construct may have

                                                     40
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 41 of 85 PageID: 22153




    been used, much less that it was known to have desirable therapeutic properties. Defendants argue

    that a POSA would have obviously looked to the Smith ‘760 fusion protein because this protein

    was expected to have advantageous properties, including an “extended in vivo half-life, ease of

    purification, and enhanced TNF binding.” Defs. Br. at 38. However, as outlined above, the prior

    art actually taught away from using an Ig fusion protein, such as the one proposed in Smith ‘760,

    to treat auto-immune diseases because such a construct would have likely elicited an inflammatory

    response in the body.    See supra III.B.l.a.ii.    The speculative expectations of Smith ‘760’s

    unconstructed chimeric antibody would not have been enough to compel a POSA to ignore the

    numerous experimental studies that revealed that Ig proteins elicited an inflammatory response

    and use the Smith ‘760’s fusion protein as a starting point to create an anti-inflammatory drug. It

    is not obvious that a POSA would have selected this idea as a possible solution for patients with

    pro-inflammatory conditions when the therapeutic effects of this chimeric antibody were

    uncertain, at best.

                                    ii.   Etanercept Is Distinctfrom Smith ‘760 Such That it Cannot
                                          Render the Patents-in-Suit Obvious

            Second, etanercept is not an obvious variant of the Smith ‘760 Patent because the Patents-

    in-Suit claim a distinct fusion protein. Smith ‘760 teaches fusing a portion of TNFR to a human

    IgGi containing both the Cli and the light chain (see generally Smith ‘760 Patent (JTX-65)),

    whereas the Patents-in-Suit require the removal of the CH 1 and the light chain from the constant

    region domain of IgGi (see ‘182 Patent (JTX-l) col. 39:12-42:34; ‘522 Patent (JTX-2) col. 45:44-

    48:4). The Smith ‘760 Patent also discussed a number of ways to construct the fusion site of the

    TNFR, none of which suggested directly fusing the TNFR to the hinge. See Smith ‘760 Patent

    (JTX-65) col. 10:33-56; PFOF   ¶ 166. The Patents-in-Suit directly fused the extracellular region



                                                   41
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 42 of 85 PageID: 22154




    of p75 to the exon-encoded hinge-CH2-CH3 region of IgGi. ‘182 Patent (JTX-l) coY. 39:12-

    42:34; ‘522 Patent (JTX-2) col. 45:44-48:4.




           In contrast to Smith ‘760, etanercept specifically uses only a portion of IgG 1, namely the

    partial exon-encoded hinge-CH2-CH3.        Defendants have not pointed to any prior art that

    recommends using the exon-encoded hinge-CH2-CH3 of IgGi for such a fusion protein, or any

    reference that advises fusing this portion to the extracellular region of p75. This concept was not

    taught in the prior art, rendering etanercept a distinct, nonobvious construction from Smith ‘760.

    Compare ‘182 Patent (JTX-l) and ‘522 Patent (JTX-2) with Smith ‘760 Patent (JTX-65) at 10:53-

    68. Defendants have failed to show why a POSA would have been motivated to combine the

    specific parts of IgGi and p75 that makeup the claimed invention.

            Moreover, the specific construct within Smith ‘760 that Defendants compare to the distinct

    construct of etanercept, as pictured above, was only one of many contemplated in Smith ‘760. In

    hindsight, Defendants assert that this one construct contemplated in Smith ‘760 would have

    obviously motivated a POSA to create etanercept. This assertion ignores the fact that had a POSA

    looked to Smith ‘760 in its entirety, the POSA would have had to consider and select among a

   broad array of options as the patent suggested a variety of different constructs to pursue, none of

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 43 of 85 PageID: 22155




    which were ever actually constructed or determined to be preferred. The Smith ‘760 Patent

    embraces many variations, including both monovalent and polyvalent forms of TNFR, and further

    reports a wide variety of choices for the polyvalent forms. See Smith ‘760 Patent (JTX-65) at 13;

    PFOF   ¶J 165-67. Among these possibilities was combining p75 with PEG, which as mentioned
    above was a widely used and FDA approved non-Ig construct. It appears Defendants focused on

    a single construct “out of the sea” of alternatives based on hindsight reasoning notwithstanding

    other potential constructs contemplated in Smith ‘760 that refuted their assertions. See WBIP, LLC

    v. Kohier Co., 829 F.3d 1317, 1337 (Fed. Cir. 2016). Therefore, Defendants have failed to show

    by clear and convincing evidence that a POSA looking to Smith ‘760 for motivation would have

    decided on the specific construct of p75 and IgGi.

                                   iii.   A POSA Would Not Have Been Motivated to Moc4fy Smith
                                          ‘760 by Removing the Light Chain, Removing the CHJ
                                          Domain, and Directly Fusing the p75 Protein to the Exon
                                          Encoded Hinge-CH2-CH3 Region

           Third, a POSA would not have been motivated to alter the Smith ‘760 fusion protein in the

    specific ways necessary to create etanercept. To modify Smith ‘760 and construct etanercept, a

    POSA would need to have been motivated to remove the CH 1 domain, eliminate the light chain,

    and directly fuse the extracellular region of p75 to the exon-encoded hinge-CH2-CH3.

           As to the removal of the CH1 domain and the light chain, a POSA would not have been

    motivated to make these modifications to Smith ‘760 based on the patent itself. First, Smith ‘760

    specifically states that its construct must have “unmodified constant region domains[,]” signifying

    to a POSA that the light chain and CH1 should not be modified if the POSA wished to maintain

    all of the alleged advantageous properties of Smith ‘760. See Smith ‘760 Patent (JTX-65) col.

    10:53-57; Defs. Br. at 38. Accordingly, a POSA looking to Smith ‘760 for motivation would have

    been discouraged from altering the constant region by removing the light chain and Cli.


                                                    43
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 44 of 85 PageID: 22156




    However, even if a POSA were to ignore this statement, there was no clear evolution in the prior

    art that would have taught a POSA to eliminate the light chain or the CHI domain. If anything,

    the prior art would have dissuaded a POSA from making these modifications to Smith ‘760 based

    on their proven increase in effector functions.

            Furthermore, in analyzing the cited prior art beyond Smith ‘760, it would not have been

    obvious to a POSA to remove the CHY and light chain because there was no clear direction in the

    prior art. When the prior art provides no reason to select, among several unpredictable alternatives,

    the exact route that would guide andlor motivate a POSA to the patented invention, then it is not

    obvious. Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358, 1364 (Fed. Cir. 200$).

    Researchers at the time, many of whom were seeking treatment for HIV/ATD$ patients, were

    modifying fusion proteins in a number of different ways and no one way was known to definitively

    work better than the other. For example, with respect to removal of the light chain, Defendants

    point to Dr. Capon’s 1989 article, mentioned above, that disclosed several CD4-Ig fusion proteins,

    including proteins that retained the light chains and those that lacked the light chain. DFOF ¶ 216;

    JTX-5$ at 1-2. Additionally, prior art references that contemplated removing the CH1 domain,

    such as the Seed ‘262 and Capon ‘964 publications, disclosed a variety of constructs, including

   proteins with the CH1 domain and those that deleted it. JTX-57 at 10; JTX-61 at 28; 9/20 AM

    (Wall) Tr. at 79:12-21. No one arrangement could have been considered to be predictable in its

   effect as even Dr. Capon found the results of his own constructs to be “surprising.” JTX-58 at 4-

    5; 9/12 AM (Blobel) Tr. at 46:8-11. Therefore, the prior art was in a state of uncertainty and had

   many variables, such that creating etanercept using only the CH2-CH3 domain of the IgGi

   immunoglobulin would not have been obvious.




                                                      44
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 45 of 85 PageID: 22157




           In fact, a POSA would have been disincentivized to remove the CHY chain because the

    prior art established that Ig fusion proteins without the CH 1 domain created additional effector

    functions, thereby intensifying the inflammatory response. 9/20 AM (Wall) Tr. at 78:20-79:6.

    According to the prior art, HW/AIDS researchers were removing CH1 to successfully increase

    the effector functions—an undesired response for an anti-inflammatory drug. 9/18 PM (Greene)

    Tr. at 84:12-19 (Dr. Greene explaining that removal of the CH1 domain was shown to cause an

    inflammatory response). For example, Bym 1990 provided experimental evidence that CD4-Ig

    fusion proteins lacking CH 1 would trigger the ADCC effector function as desired for HW/A1DS

    treatments. JTX-56 at 1-2; 9/12 AM (Blobel) 70:18-71:15. Such a result would have been contrary

    to a goal of reducing inflammation, and therefore a POSA would have been dissuaded to alter the

    Smith ‘760 protein in this way. Moreover, Defendants point to Traunecker 1989, which found that

    the pro-inflammatory response of the Ig fusion protein remained strong despite eliminating the

    CH1 domain in mouse fusion proteins. JTX-25; 9/20 AM (Wall) Tr. at 78:18-79:1. Based on this

    finding, a PO$A seeking new therapies for auto-immune disorders would not have been motivated

    to remove the CH 1 domain because Traunecker 1989 showed that removing CH 1 retained the

    inflammatory effects. See 9/20 AM (Wall) Tr. at 78:20-79:1.

           Defendants specifically aver that a POSA would have been motivated to eliminate the CH 1

    domain and the light chain of the Smith ‘760 protein, as was done in etanercept, because these

    deletions were known to improve the secretion of fusion proteins, a desirable feature because it

    allowed the fusion protein to leave the cell. See Defs. Br. at 39; DFOF   ¶   325. However, Dr.

    Capon’s 1989 paper that Defendants use to support this argument reported that secretion problems

    actually arose when the light chain was removed from CD4 fusion proteins.          JTX-58 at 2.

    Furthermore, even if the deletion of the CH1 domain did increase secretion, a POSA would have



                                                  45
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 46 of 85 PageID: 22158




    likely avoided eliminating the CR1 domain because removal was known to elicit effector functions

    and increase inflammation, as discussed above.

           Lastly, a POSA would not have been motivated to remove the linker and directly fuse the

    p75 extracellular region to the full exon-encoded hinge. Again, Defendants cite to a number of

    references teaching multiple variations of what fragments a POSA could use, including many

    references that recommend using a partial hinge andlor a linker. See, e.g., JTX-57 at 10:57-11:2

    (Seed ‘262 describing the use of a five amino acid linker); JTX-56 at 1-2 (Byrn 1990 using a partial

    two-cysteine hinge); JTX-25 at 1 (Traunecker 1989 contemplating the removal of the entire hinge).

    Based on the uncertainty in the art, it would not have been obvious to a POSA to remove the linker

    or to use the full exon-encoded hinge. See Ortho-McNeilfharm., 520 F.3d at 1364 (holding that

    the patented invention was not obvious where a POSA had no reason to select the exact route

    among several unpredictable alternatives).

           Defendants have failed to show by clear and convincing evidence that it would have been

    obvious to a POSA to create etanercept by precisely combining specific portions of TNFR and

    IgGl prior to August 1990.

                            2.    Objective Indicia of Nonobviousness

           As part of its obviousness analysis, the Court must also consider evidence regarding

    objective considerations of nonobviousness when present. In re Cyctobenzaprine Hydrochloride

    Extended-Release Capsule Patent Litig., 676 F.3d 1063, 1075-77 (Fed. Cir. 2012). Secondary

    considerations such as unexpected results, success, long felt but unsolved needs, and the failure of

    others may be relevant indicia of nonobviousness. See Graham, 383 U.S. at 17-18; Eli Lilly & Co.

    v. Zenith Goidline Pharms., Inc., 471 F.3d 1369, 1380 (Fed. Cir. 2006). Moreover, evidence of

    copying, simultaneous invention, and licensing may also be considered. See Diamond Rubber Co.

    v. Consol. Rubber Tire Co., 220 U.S. 428, 441 (1911); Geo. M. Martin Co. v. Alliance Mach. Sys.

                                                     46
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 47 of 85 PageID: 22159




    Int’l LLC, 61$ F.3d 1294, 1304 (Fed. Cir. 2010); Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530,

    1539 (Fed. Cir. 1983).

           The parties have both presented evidence of certain objective indicia that they argue

    support their obviousness arguments, all of which are discussed below. A number of witnesses

    opined on these objective indicia including, for the Plaintiffs, (1) Dr. Naismith, as mentioned

    above; (2) Dr. Greene, as mentioned above; and (3) Dr. Fleischmann, an expert in the field of

    rheumatic diseases and disorders, who is the founder and Co-Medical Director of the Metroplex

    Clinical Research Center in Dallas, Texas, and a Clinical Professor in the Department of Internal

    Medicine at the University of Texas, Southwestern Medical Center at Dallas (ECF No. 688 at 121

    ¶J 19-21); and for the Defendants, (1) Dr. Blobel, as mentioned above; and (2) Dr. Skerra, as
    mentioned above.     While both parties offered evidence of objective indicia to support their

    positions, the burden always remains on Defendants to prove by clear and convincing evidence

    that the claimed invention is obvious. In re Cyclobenzaprine Hydrochloride, 676 F.3d at 1075-79

    (concluding that, when considering secondary considerations of nonobviousness, the burden never

    shifts to the patentee to prove nonobviousness and instead always remains on the party challenging

    the patent to prove by clear and convincing evidence that the patent at issue is obvious).

           As to the objective indicia, Defendants challenge whether there is a sufficient nexus

    between the merits of the claimed invention and the objective evidence. Plaintiffs contend that the

    appropriate nexus is present and such evidence is commensurate in scope with the claims. See

    Tokai Corp. v. Easton Enters., Inc., 632 f.3d 1358, 1369-70 (Fed. Cir. 2011) (concluding that, to

    establish a nexus to the merits of a claimed invention, the offered secondary consideration must

    actually result from what is both claimed and novel in the patent); see also Dome Patent L.P. v.

    Rea, 59 F. Supp. 3d 52, 86 (Fed. Cir. 2014) (holding that objective evidence of secondary



                                                    47
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 48 of 85 PageID: 22160




    considerations must be proportional to the scope of the claims to be probative of nonobviousness).

    Here, the Court finds that the secondary considerations discussed below have a sufficient nexus

    to, and are commensurate in scope with, the claimed invention because the proffered evidence is

    linked to etanercept, which the Court has found was adequately described in the Patents-in-Suit.

    To the extent more specific arguments concerning nexus and scope were made by the parties, such

    assertions are addressed in the relevant sections below.

                               a) Unexpected Results

           Unexpected or surprising results can support nonobviousness. To demonstrate unexpected

    results, a party must “show that the claimed invention exhibits some superior property or advantage

    that a person of ordinary skilL in the reLevant art wouLd have found surprising or unexpected.” In

    re Soni, 54 F.3d 746, 750 (fed. Cir. 1995). “The principle applies most often to the less predictable

    fields, such as chemistry, where minor changes in a product or process may yield substantially

    different results.” Id. Plaintiffs assert that etanercept exhibits three unexpected properties: (1) a

    lack of aggregation with TNF due to Mode 2 binding; (2) a superior binding affmity to, and

    inhibition of, TNF; and (3) little to no effector functions. Pis. Br. at 33. Defendants disagree that

    these properties were unexpected. Defs. Br. at 45-48.

           First, the Court finds that etanercept’s ability to bind in Mode 2 with little to no aggregation

    was an unexpected result. For background, in order for etanercept to be effective, the TNFR in

    etanercept has to bind to TNF. 9/20 PM (Fleischmann) Tr. at 149:11-17. Etanercept is a bivalent

    fusion protein, which means that it has two binding sites. DFOF      ¶ 238. Dr. Naismith explained
    that fusion proteins like etanercept can potentially bind to TNF in either one of two ways: (1)

    Mode 1 binding, which occurs when a bivalent fusion protein binds two TNF cytokines at each of

    its two separate binding sites, (9/18 AM (Naismith) Tr. at 110:13-21 (explaining that etanercept

    has two “hand[s],” and that in “Mode 1” binding each hand would attach to a different TNF

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 49 of 85 PageID: 22161




    molecule)); or (2) Mode 2 binding, which occurs when a bivalent fusion protein binds one TNF

    with both binding sites.26 DFOF ¶ 238; 9/24 AM (Skerra) Tr. at 39:25-41:24; 9/18 AM (Naismith)

    Tr. at 110:10-111:13; Defendants’ Trial Exhibit-84 at 5. While Mode 1 binding is very common

    in protein constructs similar to etanercept, (see 9/18 AM (Naismith) Tr. at 112:1-5), Mode 2

    binding, which occurs in etanercept, is much rarer because the receptors have to be precisely

    arranged for Mode 2 binding to work. See id. at 110:22-111:8.



                                        Model                      Mode 2




                                     Binds two sites in         Binds two st.s in
                                  different target trimer      same target trimr



    DFOF ¶ 23$.

           Despite the fact that Mode 2 binding was uncommon in proteins similar to etanercept,

    etanercept surprisingly engages in Mode 2 binding, which is one of the reasons why it effectively

    treats rheumatoid arthritis.27 9/18 AlvI (Naismith) Tr. at 114:19-115:23. Plaintiffs’ expert Dr.

   Naismith credibly explained that a POSA in 1990 would have expected etanercept to bind in Mode

    1 because Mode 1 had fewer limitations and, as a result, was much more likely in antibodies similar


   26
     The Court notes that the parties’ experts also discussed Mode 3 binding, which is an intermediate
   or transient step that could lead to either Mode 1 or Mode 2 binding. See 9/24 AM (Skerra) Tr. at
   39:25-41:24; 9/18 AM (Naismith) Tr. at 111:9-13; DFOF ¶ 238.
   27
      Defendants’ expert, Dr. Skerra, who testified that a POSA would not have expected aggregation,
   was later impeached on this point because he based his opinions on a molecule that was different
   from etanercept and ultimately agreed that a POSA would have expected a molecule with
   etanercept’s exact construction to have caused aggregation. 9/24 AM (Skerra) Tr. at 81:6-84:1.

                                                       49
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 50 of 85 PageID: 22162




    to etanercept. Id. at 111:14-114:25. Etanercept’s unexpected ability to bind in Mode 2 has

    important consequences. If etanercept had engaged in Mode 1 binding, aggregation would have

    resulted in the body—an undesired result for rheumatoid arthritis treatment as it leads to further

    inflammation. Id. at 112:13-19, 114:21-25. Mode 2 binding, however, results in little to no

    aggregation. 9/18 AM (Naismith) Tr. at 110:22-111:8. Hence, based on the state of the art in

    1990, the Court finds that there is sufficient evidence to support the fact that etanercept’s lack of

    aggregation due to Mode 2 binding was an unexpected and crucial result.

             Second, a POSA would not have expected etanercept to bind fifty times stronger to TNF

    or to exhibit superior TNF -neutralizing properties. PFOF ¶ 254; PTX-73 at 4; 9/18 AM (Naismith)

    Tr. at 116:7-118:3. According to Defendants’ expert, Dr. Capon, a POSA at the time would have

    thought that the binding power of an Ig fusion protein, such as etanercept, would have been weak.
    28
         JTX-58 at 2 (stating that Ig fusion proteins exhibit binding that is “indistinguishable” from

    binding as exhibited by soluble receptors, which were known to have weak binding strength at the

    time).   Therefore, the fact that etanercept has strong binding capabilities would have been

    surprising to a POSA at the time. Moreover, etanercept’s Mode 2 binding led to increased

    neutralization of TNF because etanercept bound to TNF more efficiently, reducing the amount of

    TNF left in the cells and thereby decreasing TNF’s inflammatory effect. 9/18 AM (Naismith) Tr.

    at 117:17-118:3. A POSA would have also been surprised by etanercept’s ability to powerfully

   neutralize TNF given that etanercept’s ability to bind without aggregation was unexpected. Id. at

    117:9-19 (Dr. Naismith concluding that prior to August 1990, a POSA would not have expected


   28Defendants relying on Galderma Labs., L.P. v. Totmar, Inc., 737 F.3d 731, 739 (Fed. Cir. 2013),
   argue that etanercept’s ability to strongly bind to, and effectively neutralize, TNF was not
   unexpected because TNF was already known to bind and neutralize soluble TNFRs. Defs. Br. at
   46. However, this argument fails because the ability of TNF to effectively bind to etanercept—a
   TNFR-Ig fusion protein—rather than to a soluble TNFR, was unknown and unexpected. See JTX
   58 at 2; 9/18 AM (Naismith) Tr. at 116:10-16, 117:7-118:3.

                                                    50
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 51 of 85 PageID: 22163




    etanercept to produce the 1000-fold efficacy in TNF neutralization that etanercept is now known

    to produce).

            Third, prior to August 1990, a POSA would not have expected etanercept to produce little

    to no undesired effector functions. 9/18 PM (Greene) Tr. at 91:17-93:12, 100:10-101:10 (Dr.

    Greene testifying that it was a “surprise” and “unexpected result” that etanercept produced little or

    no CDC or ADCC effector functions. As discussed at length above, this result would have been

    unknown to a POSA prior to August 1990 and supports the assertion that etanercept produced

    unexpected results.   Id. at 70:17-71:2 (Dr. Greene comparing etanercept to the prior art and

    testifying that, given the results of the testing with the CD4 fusion proteins, a POSA would have

    expected etanercept to exhibit effector functions); see also supra III.B. l.a. Accordingly, the Court

    concludes that this evidence of unexpected results weighs in favor of finding that the claims of the

    Patents-in-Suit are nonobvious.

                               b) Praise and Clinical Success

           “Evidence that the industry praised a claimed invention or a product which embodies the

    patent claims weighs against an assertion that the same claim would have been obvious. Industry

    participants, especially competitors, are not likely to praise an obvious advance over the known

    art.” WBIF, LLC, 829 F.3d at 1334. The Court may also look to evidence of Enbrel®’s clinical

    success. See KSR, 550 U.S. at 415 (concluding that with respect to the question of obviousness,

    courts should take “an expansive and flexible approach[,]” and noting that Graham “set forth a

    broad inquiry and invited courts, where appropriate, to look at any secondary considerations that

    would prove instructive”). Here, Plaintiffs offered ample evidence of praise and clinical success.

    In fact, Defendants’ counsel conceded this at the beginning of trial. 9/11 AM (Opening) Tr. at

    49:20-25 (Defendants’ counsel stating that they were “not going to dispute that Enbrel[®], the

   product, the etanercept product    .   .   .   has not been   .   .   .   commercially successful[,]   .   .   .   clinically

                                                           51
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 52 of 85 PageID: 22164




    successful[,]   ...   [and] praised.”). In any event, the evidence at trial confirmed that etanercept has

    been highly praised as a drug that has “changed the practice of medicine.” 9/14 (McCamish) Tr.

    at 41: 13-17. Enbrel® has been widely prescribed since its approval in 1998 and the number of

    prescriptions rose rapidly through 2008, despite shortages in supply and the entry of two major

    competitors into the market. 9/21 (Vellturo) Tr. at 14:22-15:19.

            Nevertheless, Defendants assert that Enbrel®’s success and praise is unpersuasive because

    Enbrel®’ s achievements are not sufficiently connected to the asserted claims of the Patents-in-

    Suit. See DFOF          335; 9/11 AM (Opening) Tr. at 49:25-50:10. The testimony at trial, however,

    established that Enbrel®’s success was largely rooted in the unexpected ability of etanercept, the

    claimed invention, to bind and neutralize TNF and its stability in the human body. 9/20 PM

    (fleischmann) Tr. at 148:16-149:20 (Dr. Fleischmann testifying that the success of etanercept was

    due to its molecular properties and efficacy). Therefore, the Court concludes that there is a

    sufficient nexus between the claimed invention, etanercept, and Enbrel® because the drug’s

    successes result from the effectiveness and novelty of etanercept, Enbrel®’ s active ingredient.

    WBIF, LLC, $29 F.3d at 1331 (holding that a nexus can be presumed when the asserted objective

    indicia is tied to a specific product and the product is the invention claimed in the patent).

           Moreover, as to whether this secondary consideration is reasonably commensurate in scope

    with the claims, Defendants contend that the evidence of Enbrel®’s success and praise ignores

    etanercept’s failures in treating other conditions, such as Crohn’s disease. Defs. Br. at 49. The

    Court has considered this argument and nonetheless concludes that Enbrel®’s success in treating

    rheumatoid arthritis—the focus of the litigation and the only use for which etanercept was FDA

    approved in 1998—is probative of nonobviousness as etanercept was highly praised and extremely




                                                         52
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 53 of 85 PageID: 22165




    successful in helping vast numbers of rheumatoid arthritis patients.29 9/20 PM (Fleischmann) Tr.

    at 148:16-150:20. Thus, praise and clinical success also weighs in favor of nonobviousness.

                               c) LonR-Felt Need and failure of Others

            “Evidence is particularly probative of obviousness when it demonstrates both that a

    demand existed for the patented invention, and that others tried but failed to satisfy that

    demand.” In re Cyclobenzaprine Hydrochloride, 676 F.3d at 1082-83.                In order to show

    satisfaction of long-felt need, one must establish that (1) a PO$A recognized a problem that existed

    for a long period of time without a solution, (2) the long felt need had not been satisfied by another

    before the claimed invention, and (3) the invention in fact satisfied the long-felt need. See Newell

    Cos., Inc. v. Kenneylifg. Co., 864 F.2d 757, 768 (Fed. Cir. 1988); In re Cavanagh, 436 F.2d 491,

    495-96 (C.C.P.A. 1971); In re Gershon, 372 F.2d 535, 538-39 (C.C.P.A. 1967).

           The trial testimony showed that there was a long-felt need for a better treatment for

    rheumatoid arthritis and that Enbrel® was the first drug to successfully satisfy this need. Prior to

    Immunex’s sale of Enbrel®, a drug known as methotrexate “was a drug of choice” to treat

    rheumatoid arthritis. 9/20 PM (Fleischmann) Tr. at 131:22-24, 135:21-136:3 (Dr. Fleischmann

    testifying that methotrexate was the best drug available to treat rheumatoid arthritis in the mid

    1990s, and that it was “the gold standard”). However, methotrexate could help only a small

    minority of patients. PIs. Br. at 35; 9/20 PM (Fleischmann) Tr. at 146:20-147:9. Although other

    research groups tried for decades to inhibit inflammation in the body, they failed to develop an

    effective solution before the claimed invention. 9/11 PM (Blobel) Tr. at 66:13-67:6. After




    29
      The Court has similarly considered that Plaintiffs presented data focusing on Enbrel®’s success
    during its first ten years on the market. The Court has weighed this evidence accordingly and finds
    that the evidence of Enbrel®’s success over this ten-year span is persuasive of nonobviousness.
    See Defs. Br. at 49-50.

                                                     53
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 54 of 85 PageID: 22166




    Enbrel® was introduced into the market, approximately 70% of patients with rheumatoid arthritis

    found relief from this treatment. 9/20 PM (fleischmann) Tr. at 139:2-17.

            In analyzing Plaintiffs’ evidence as to this factor, the Court finds that a nexus is established

    because the community’s long-felt need for an effective, wide-reaching rheumatoid arthritis drug

    was satisfied by the claimed invention itself. See id. at 139:8-24, 149:2-9, 146:20-147:9, 15 1:3-

    17. Enbrel® was able to satisfy this need because of etanercept’s ability to effectively neutralize

    and bind TNF while suppressing pro-inflammatory effector functions. 9/20 AlvI (Wall) Tr. at

    87:11-24. Accordingly, the Court finds that Plaintiffs have presented sufficient evidence to show

    that etanercept met a long-felt need that many others failed to successfully address prior to

    etanercept.

                               d) Copying

            There is no dispute that Defendants’ biosimilar has the same amino acid sequences and

    structure as Enbrel®. See DFOF ¶J 258-59. Plaintiffs ask the Court to find Defendants’ copying

    as probative of nonobviousness. Pis. Br. at 12. Defendants draw a comparison to Hatch-Waxman

    Act Abbreviated New Drug Application (“ANDA”) cases with generic drugs, and counter that

    copying a biologic drug should not be evidence of nonobviousness for creation of a biosimilar

    because “copying by Sandoz reflects its efforts to meet the FDA standards for approval of

    biosimilar products.” Defs. Br. at 50, DFOF ¶J 25 8-59, 337.

           It is well settled that the copying of an invention can be indicative of nonobviousness.

   Diamond Rubber, 220 U.s. at 440-4 1 (finding “imitation” of a certain tire as a “concession to its

    advance beyond the prior art and of its novelty and utility”). In the pharmaceutical realm, however,

    copying is generally not considered evidence of nonobviousness for matters in the ANDA context.

   See, e.g., Bayer Healthcare Pharms., Inc. v. Watson Pharms., Inc., 713 f.3d 1369, 1377 (Fed. Cir.



                                                      54
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 55 of 85 PageID: 22167




    2013) (“evidence of copying in the ANDA context is not probative of nonobviousness because a

    showing of bioequivalence is required for FDA approval”) (citation omitted).3°

           In order to obtain FDA approval for a biosimilar under the Biologics Price Competition

    and Innovation Act (“BPCIA”), “the applicant may piggyback on the showing made by the

    [original] manufacturer of a previously licensed biologic (reference product)” if the applicant can

    “show that its product is ‘highly similar’ to the reference product and that there are no ‘clinically

    meaningful differences’ between the two in terms of ‘safety, purity, and potency.” Sandoz Inc. v.

    Amgen Inc., 137 S. Ct. 1664, 1670 (2017) (quoting 42 U.S.C.          § 262(i)(2)(A), (B) and citing §
    262(k)(2)(A)(i)(1)). Specifically, as compared to the original biologic, the biosimilar is permitted

    to have “minor differences in clinically inactive components,” but must be “interchangeable with

    the reference product.” 42 U.S.C.   § 262(i)(2)(A), (k)(4). This is similar to the ANDA process for
    FDA approval of generic drugs, which requires “a generic drug company [to] submit information

    to show, inter alia, that its generic drug and the relevant listed drug share the same active

    ingredients and are bioequivalent.” Caraco Pharm. Labs., Ltd. v. forest Labs., Inc., 527 F.3d

    1278, 1282 (Fed. Cir. 2002) (citing 21 U.S.C.   § 355(j)(2)(A)(ii), (iv)). At trial, Plaintiffs presented
    testimony by deposition from Graham B. Jones, Ph.D., their expert on the FDA’s practices and

    policies regarding demonstrating biosimilarity, which was not inconsistent with the Court’s



   °
      Plaintiffs cite to Merck Sharp & Dohme Corp. V. Hospira, Inc., an ANDA case in which the
   Federal Circuit found copying evidence of nonobviousness where the alleged infringer copied the
   “process of manufacturing the drug” in the patent. $74 F.3d 724, 726, 731 (Fed. Cir. 2017)
   (emphasis in original). The Court finds the facts of this case distinguishable from Merck. Here,
   Defendants presented credible testimony that they began developing their biosimilar in 2006, prior
   to the issuance of the Patents-in-Suit and prior to the BPCIA, and that they developed the
   biosimilar by utilizing etanercept’s amino acid sequence directly from the commercial product
   Enbrel® due to an understanding that the amino acid sequence would need to be identical to
   etanercept for approval as a biosimilar. See 9/14 (McCamish) Tr. at 17:17-18:15, 84:15-85:6;
   JTX-83 (Alliger Deposition) at 9:85-10:90; DFOF ¶J 258-59; Defs. Br. at 50.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 56 of 85 PageID: 22168




    analysis in this Opinion. See generally JTX-87 (Jones Deposition); DFOF at xv.31 Given the

    BPCIA abbreviated pathway for FDA approval and the testimony on the active ingredient at issue

    here, the Court finds that the same logic for not considering copying in ANDA cases would apply

    in this circumstance.32 Thus, this factor cannot be used herein as evidence of nonobviousness.

                              e) Simultaneotts Invention

           Evidence of an independently made, simultaneous invention may be used in “some rare

    instances” to provide objective indicia of obviousness by showing that persons of ordinary skill in

    the art identified the same particular solution to a known problem. Geo. li Martin, 618 F.3d at

    1304 (citations and internal quotations omitted); see Lindemann Maschinenfabrik GmbH v. Am.

    Hoist & Derrick Co., 730 F.2d 1452, 1460 (Fed. Cir. 1984). “Unlike the ultimate determination

    of obviousness, which requires courts to answer the hypothetical question of whether an invention

    ‘would have been obvious,’ 35 U.S.C.   § 103, simultaneous invention demonstrates what others in
    the field actually accomplished.” Trustees ofColumbia Univ. v. Illumina, Inc., 620 F. App’x 916,

    930 (Fed. Cir. 2015) (emphasis in original).        Defendants assert four instances of alleged

    simultaneous invention of etanercept by: (1) Dr. Beutler at the University of Texas; (2) Dr.




    31
      Jones testified that theoretically a proposed biosimilar could “encode a different primary amino
   acid sequence than the reference product,” however the FDA guidance calls for evaluation “on a
   case-by-case basis.” JTX-87 (Jones Deposition) at 5:33-34, 7:49-50, 8:54. Jones confirmed that
   he had not reviewed either of the Patents-in-Suit nor was he offering an opinion on whether Sandoz
   specifically “was required to use the same primary amino acid sequence as Enbrel® to obtain
   licensure of its etanercept product under the abbreviated pathway.” Id. at 4:28. Furthermore, Jones
   could not “provide any examples of a biosimilar drug that’s been approved by the FDA with an
   expression construct that encodes a different primary amino acid sequence as its reference
   product.” Id. at 8:56.
   32
     The Court notes that even if this factor could be used as evidence of nonobviousness in favor of
   Plaintiffs, such finding would not have any material impact on the outcome of the Court’s
   obviousness analysis.

                                                   56
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 57 of 85 PageID: 22169




    Asbkenazi at Genentech; (3) Dr. Lauffer of Behringwerke, who was working in collaboration with

    Jmmunex; and (4) Dr. Goodwin of Immunex. See DFOF ¶J 10, 223, 228, 233.

            Dr. Beutler, Dr. Ashkenazi, and Dr. Lauffer did not make etanercept, but rather different

    fusion proteins, and therefore their constructs cannot be used as evidence of simultaneous

    invention. See Endo Pharms. Inc. v. Actavis Pharms., LLC, 922 F.3d 1365, 1378 n.14 (Fed. Cir.

    2019), aff’gEndo Pharms. Inc. v. Amneat Pharms., LLC, 224 F. $upp. 3d 368, 381 (D. Del. 2016)

    (fmding that alleged evidence of simultaneous invention can be disregarded for obviousness if it

    is not the same compound as the claimed invention); see also Shire Orphan Therapies LLC v.

    Fresenius Kabi USA, LLC, No. 15-1102, 2018 WL 2684097, at *20 (D. Del. June 5, 2018). Dr.

    Beutler of the University of Texas was working on a fusion protein that consisted of the

    extracellular region of p55 fused to a mouse IgGl with a two-cysteine binge. See JTX-67 col. 7:5-

    8; DFOF   ¶ 235; 9/18 PM (Greene) Tr. at 103:12-21; see also 9/20 AM (Wall) Tr. at 89:19-90:1.
    Dr. Ashkenazi at Genentech similarly constructed a fusion protein with p55 and a partial two

    cysteine hinge. JTX-69 at 1; PFOF      ¶ 267; DFOF ¶ 233. Behringwerke’s Dr. Lauffer made a
    fusion protein with p75 and a three-cysteine hinge but deleted the last five amino acids of the C

    tenninus of the TNFR and also added a linker. PFOF ¶ 269-71. The record does not demonstrate

    that Dr. Lauffer or anyone at Behringwerke contemplated using the full extracellular region of p75

    or removing the linker, as was done in etanercept. Based on the evidence presented, the Court

    finds that the constructs of Dr. Beutler, Dr. Ashkenazi, and Dr. Lauffer do not support a finding of

    obviousness because these inventions did not contemplate etanercept.

           Roche’s patent applications were already pending when Immunex created etanercept in

   November or December 1990. PFOF         ¶f 51, 263. Immunex’s subsequent decision to license the
   Patents-in-Suit from Roche demonstrates etanercept’s inventive nature and undermines an



                                                    57
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 58 of 85 PageID: 22170




    obviousness finding. See Id.   ¶J 69-70; DFOF ¶ 228. Moreover, a single instance of simultaneous
    invention cannot alone support a finding of obviousness for the following reasons. First, if one

    instance of simultaneous invention were sufficient to show obviousness, any claims involved in

    an interference would be unpatentable for obviousness, making interference proceedings futile.

    Lindemann Maschinenfabrik GmbH, 730 F.2d at 1460 (Fed. Cir. 1984) (concluding that because

    the statute governing interference “recognizes the possibility of near simultaneous invention by

    two or more equally talented inventors working independently, that occurrence may or may not be

    an indication of obviousness when considered in light of all the circumstances”). Second, even

    when evidence of simultaneous invention exists, the unexpected success of the claimed invention

    can preclude a finding of obviousness because surprising results demonstrate the true novelty of

    the invention, even if multiple inventors happened to discover it within a similar time period. See

    Regents of Univ. of Cal. v. Broad Inst., Inc., 903 F.3d 1286, 1291, 1295-96 (Fed. Cir. 2018)

    (declining to find obviousness despite strong evidence of six different simultaneous inventions

    because the results of the claimed invention were unpredictable and unexpected, thereby

    outweighing any potential probativeness of the simultaneous inventions). Accordingly, the Court

    finds that the Defendants’ argument concerning the factor of simultaneous invention fails to

    support obviousness.

                              J)   Licensing

           The licensing of a patent is also objective indicia that a patent is not obvious.       See

    $tratoflex, 713 F.2d at 1539 (“Recognition and acceptance of the patent by competitors who take

    licenses under it to avail themselves of the merits of the invention is evidence of

   nonobviousness.”). Here, Defendants concede that Immunex obtained a license for the Patents-

    in-Suit from Roche in 1998. DFOF      ¶ 52; JTX-13. As such, the Court fmds that the licensing
   factor also weighs in favor of nonobviousness.

                                                    58
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 59 of 85 PageID: 22171




            Accordingly, for all of the above reasons, the Court finds that Defendants have failed to

    prove by clear and convincing evidence that the Patents-in-Suit are obvious.

                C. Obviousness-Type Double Patenting

            The judicially-created doctrine of obviousness-type double patenting prevents a party from

    extending their right to exclude by obtaining a later patent with claims that are not patentably

    distinct from claims in a commonly-owned previous patent. In re Longi, 759 F.2d 887, 892 (Fed.

    Cir. 1985). “The purpose of the rule against double patenting is to prevent an inventor from

    effectively extending the term of exclusivity by the subsequent patenting of variations that are not

    patentably distinct from the first-patented invention.” Applied Materials, Inc. v. Advanced

    Semiconductor Materials Am., Inc., 98 F.3d 1563, 1568 (Fed. Cir. 1996); see also Procter &

    Gamble Co. v. Teva Pizarms. USA, Inc., 566 F.3d 989, 999 (Fed. Cir. 2009). Thus, a preliminary

    step to fmd that the nile against obviousness-type double patenting was violated is to assess

    whether the patents or patent applications have a common inventor or common ownership. See

    Applied Materials, Inc., 92 F.3d at 1568; In reLongi, 759 F.2d at 895.

            Double patenting entails a two-pronged analysis. “first, as a matter of law, a court

    construes the claim in the earlier patent and the claim in the later patent and determines the

    differences.” Eli Lilly & Co. v. Barr Labs., Inc., 251 F.3d 955, 968 (Fed. Cir. 2001) (citing Ga.

    Pac. Corp. v. U.S. Gypsum Co., 195 F.3d 1322, 1326 (Fed. Cir. 1999)). “Second, the court

    determines whether the differences in subject matter between the two claims render the claims

    patentably distinct.” Id. (citing Ga.-Pac. Corp., 195 F.3d at 1327). If the later claim is an “obvious

    variant” or obvious modification of the earlier claim, then the later claim is invalid for double

    patenting. In re Basell Poliolefine Italia S.P.A., 547 F.3d 1371, 1378-79 (Fed. Cir. 2008).

           An analysis of step two requires a determination of whether or not the claims are

    “patentably distinct,” by “ask[ing] whether the identified difference renders the claims of the   .




                                                     59
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 60 of 85 PageID: 22172




    ttvo] patents non-obvious to a person of ordinary skill in the art in light of the prior art.” Amgen

    Inc. v. F. Hoffmann-La Roche, Ltd., 580 f.3d 1340, 1361 (fed. Cir. 2009); see also Pfizer, Inc. v.

    TevaPharms. USA, Inc., 518 f.3d 1353, 1363 (fed. Cir. 200$); In reKaplan, 789 F.2d 1574,1580

    (fed. Cir. 1986). “This part of the obviousness-type double patenting analysis is analogous to an

    obviousness analysis under 35 U.S.C.    §   103, except that” the alleged invalidating reference patent

    itself “is not considered prior art” for purposes of the analysis.             Amgen, 580 f.3d at

    1361. Specifically, an obviousness-type double patenting analysis requires an inquiry into the

    scope and content of the prior art, the level of skill in the art, and what would have been obvious

    to a POSA. See StudiengeseltschafiKohle mbHv. N. Petrochemical Co., 784 F.2d 351, 355 (fed.

    Cir. 1986).

           Defendants argue that the Patents-in-Suit (i.e., the ‘182 and ‘522 Patents) should be

    invalidated because Immunex has used the Patents-in-Suit to “obtain[] an unjustified timewise

    extension of its etanercept monopoly” in violation of 35 U.S.C.           § 121. Defs. Br. at 6-15.
    Specifically, Defendants contend that the Patents-in-Suit are invalid for obviousness-type double

    patenting over (1) Roche’s ‘279 Patent; (2) Immunex’s U.S. Patent No. 5,605,690 (“the ‘690

    Patent”); and (3) three linmunex patents aimed at psoriasis and psoriatic arthritis, U.S. Patent Nos.

    7,915,225 (“225 Patent”), 8,119,605 (“605 Patent”), and 8,722,631 (“631 Patent”) (collectively,

    “the Finck Patents”). Id. Plaintiffs counter that Defendants’ challenges fail because (1) a safe

    harbor provision applies to the Roche ‘279 Patent, preventing an obviousness-type double

    patenting violation; (2) Defendants employ an incorrect doctrine to find common ownership over

    Immunex’ s ‘690 Patent and finck Patents, which is required before even conducting the traditional

    two-step analysis; and (3) the Patents-in-Suit are patentably distinct from the Roche ‘279 Patent,

    Immunex’s ‘690 Patent, and Immunex’s F inck Patents. Pis. Br. at 39-50.



                                                      60
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 61 of 85 PageID: 22173




            In support of their arguments on obviousness-type double patenting, Defendants relied, to

    a large extent, on the following two of their witnesses: (1) Dr. Blobel, previously introduced in

    sections III.A and III.B, who is an expert in biophysics, particularly focusing on arthritis and tissue

    degeneration; and (2) John Parise, who testified via deposition and was Roche’s former Senior

    Counsel and Managing Attorney involved in drafting and negotiating the 2004 Accord and

    Satisfaction on behalf of Roche. ECF No. 68$ at 131     ¶ 43, 137 at ¶ 71; DFOF ¶ xvi, 66. Plaintiffs
    relied heavily on (1) expert Stephen G. Kunin, J.D., an attorney who is the former Deputy

    Commissioner for Patent Examination Policy in the Office of the Commissioner for Patents in the

    USPTO and an expert in USPTO policies, practices, and procedures; and (2) Stuart Watt, former

    Vice President of Law and Intellectual Property Officer at Amgen, who was involved in the

    prosecution of the Patents-in-Suit and the negotiation and drafting of licensing agreements for the

    company. ECF No. 688 at 128      ¶ 39, 137 ¶ 73.
           The Court will first address Defendants’ arguments with respect to Roche’s ‘279 Patent,

    followed by Immunex’s ‘690 Patent, and finally Immunex’s Finck Patents. For the reasons set

    forth, the Court agrees with Plaintiffs that the Patents-in-Suit are not invalid for obviousness-type

   double patenting.

                            1.     The ‘182 Patent Is Not Invalid in View of Roche’s ‘279 Patent

           Defendants argue that the ‘182 Patent should be invalidated based on Roche’s ‘279

   Patent.33 Defs. Br. at 6-15. There is no dispute that Roche is the owner of both the ‘279 Patent

   and the ‘182 Patent and therefore common ownership exists. However, Plaintiffs contend that any



     Defendants stipulated at trial that the Safe Harbor provision of 35 U.S.C. § 121 protects the ‘522
   Patent against a challenge based on Roche’s ‘279 Patent. Pis. Br. at 39; 9/21 Tr. at 9:7-16 (defense
   counsel acknowledging, at trial, that the Safe Harbor provision protects the ‘522 Patent from any
   challenge based on the ‘279 Patent). The analysis herein will therefore solely focus on the validity
   of the ‘182 Patent as it relates to Roche’s ‘279 Patent.

                                                       61
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 62 of 85 PageID: 22174




    challenge based on the ‘279 Patent must fail because of the safe harbor provision in 35 U.S.C.    §
    121 (“Safe Harbor”). The Safe Harbor provision protects applicants from obviousness-type double

    patenting invalidity when they are forced to pursue inventions in separate patent applications as a

    result of a “restriction requirement” set by the USPTO, here in the filing of related divisional

    applications. See 35 U.S.C.   § 121; Pis. Br. at 39-41. The Court will first examine Plaintiffs’
    argument that the Safe Harbor provision protects the ‘182 Patent from being invalidated by

    Roche’s ‘279 Patent for obviousness-type double patenting and then go through the traditional

    obviousness-type double patenting analysis comparing the asserted claims of the ‘182 Patent to

    Roche’s ‘279 Patent claims.

                              a) Roche ‘s ‘279 Patent

                                     i.   Background on the ‘279 Patent

           Roche’s first patent application covering the claimed invention, the ‘013 Application, was

    filed in September 1990. PFOF ¶ 51; DFOF      ¶ 38. That application was abandoned and the ‘640
    Application, which also covered the claimed invention, was filed in July 1993. PFOF ¶ 57; DFOF

    ¶J 38-39. During patent prosecution, the USPTO placed a restriction requirement on the ‘640
    Application, requiring Roche to “elect one of three distinct inventions” and choose “between the

    p55 and p75 protein.” DFOF      ¶ 40. Roche elected to pursue claims related to the p55 fusion
    protein, which resulted in the ‘279 Patent being issued in March 1997. PFOF    ¶ 57; DFOF ¶J 39-
    40. In order to pursue the non-elected claims, i.e. those related to the p75 fusion protein, Roche

    was required to file separate divisional applications.     In May 1995, Roche filed the ‘790

   Application, which eventually issued as the ‘182 Patent. PFOF ¶ 57.




                                                   62
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 63 of 85 PageID: 22175




                                           ii.   The Safe Harbor Provision Protects the Claims of the ‘182
                                                 Patent in View of the ‘279 Patent

            The Court finds that the Safe Harbor provision protects the claims of the ‘182 Patent from

    Defendants’ invalidity argument based on the ‘279 Patent. Under the Safe Harbor provision, a

    patent cannot be invalidated for obviousness-type double patenting if the subject patent was issued

    from a divisional application that was filed as a result of a requirement for restriction. 35 U.S.C.

    § 121; see Symbol Techs.,   Inc. v. Opticon, Inc., 935 F.2d 1569, 1579 (fed. Cir. 1991). There are

    three requirements for invoking the protection of the Safe Harbor provision: (1) a restriction

    requirement, (2) a divisional application filed as a result of the restriction requirement, and (3)

    consonance with the restriction requirement. 35 U.S.C.         § 121.
           At trial, Plaintiffs’ expert Steven G. Kunin explained the USPTO’s policy, practice, and

    procedure related to the Safe Harbor protection afforded to “applicants who are forced to file

    multiple patent applications.” 9/21 (Kunin) Tr. at 69:18-20. Based on his experience with the

    USPTO for more than thirty-four years, ten of which were spent as the Deputy Commissioner, Mr.

    Kunin described the procedure for restriction requirements and divisional applications. Id. at 66:5-

    68:9, 69:21-70:24. He explained that if an “applicant claimed more than one independent and

    distinct invention” in a parent application, the applicant would be forced to file a divisional patent

    application to ensure “administrative efficiency and effectiveness.” Id. at 69:23-70:7. If the

    applicant still wished to obtain a patent for the other inventions initially included in the parent

    application, the applicant would need to file a “divisional application.” Id. at 70:8-24. This

    divisional application would be prohibited from rejection on obviousness-type double patenting

    grounds over the claims of the parent application based on the Safe Harbor provision. Id. The

    Safe Harbor provision was created for the specific purpose of preventing “unfairness by penalizing

    the applicant who would do.    .   .   what the examiner had requested by electing an invention, filing


                                                          63
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 64 of 85 PageID: 22176




    a divisional and seeking the examination of the withdrawn claims in the parent in the divisional.”

    Id. at 70:25-71:7.

            As to the instant case, Mr. Kunin testified that the USPTO placed a restriction requirement

    on the ‘640 Application (which became the ‘279 Patent) during its prosecution. PFOF ¶J 278-82;

    DFOF ¶J 40-41; see also 9/21 (Kunin) Tr. at 69:23-70:2 (Mr. Kunin testifying generally that when

    “the examiner required the applicant to elect only one of those inventions for search and

    examination” it is “known as a restriction requirement”). According to the restriction requirement,

    Roche was obligated to choose between prosecuting claims of either p55 or p75 TNFR. PFOF ¶

    280; DFOF ¶ 50. Roche elected claims relating to p55 TNFR, which resulted in the ‘279 Patent.

    PFOF   ¶ 285; DFOF ¶ 50. Thereafter, the p75 TNFR claims were pursued in a divisional
    application that led to the ‘182 Patent. PFOF           ¶ 285. Plaintiffs therefore meet the first two
    requirements because there was both a restriction on the application underlying the ‘279 Patent

    and a divisional application filed as a result of that restriction.

            Defendants do not challenge the fact that there was a restriction on the application for the

    ‘279 Patent and that the Patents-in-Suit were the result of divisional applications filed based on

    that restriction. DFOF   ¶J 40-41, 45 (“[d]uring the prosecution of the ‘279 patent, the examiner
    issued a restriction requirement” and “[f]ollowing the restriction requirement, Roche filed

    divisional applications from the ‘279 patent application,” one of “which ted to the ‘182 patent”).

    The focus of Defendants’ Safe Harbor challenge for the ‘182 Patent therefore appears to be based

    on the third requirement of consonance. Id.      ¶J 298-301. Consonance is a judge-made principle
    that states that the divisional application cannot reclaim the invention, which was elected and

    examined in the parent. See Symbol Techs., 935 F.2d at 1579 (“Consonance requires that the line

    of demarcation between the ‘independent and distinct inventions’ that prompted the restriction



                                                       64
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 65 of 85 PageID: 22177




    requirement be maintained.”) (quoting Gerber Garment Tech., Inc. v. Lectra Sys., Inc., 916 F.2d

    683, 688 (fed. Cir. 1990)); see also 9/21 (Kunin) Tr. at 76:5-8. Tn other words, just as the parent

    patent application must elect a distinct invention as a result of the restriction requirement, so too

    must the subsequent divisional application refrain from claiming the elected invention from the

    parent application. Where the principle of consonance is violated, the Safe Harbor provision “will

    not apply to remove the parent [patent] as a reference” in an obviousness-type double patenting

    analysis. See Symbol Techs., 935 f.2d at 1579.

            Here, Roche’s ‘279 Patent elected claims relate to p55 TNFR from the original patent

    application as a result of the restriction requirement. Immunex and Amgen then amended the

    subsequent ‘790 Application (a divisional of the ‘279 Patent application) which became the ‘182

    Patent, to include claims for p75. See PTX-6.280. That amendment was made in response to a

    rejection by the USPTO, approximately ten years after the application for the ‘182 Patent was

    originally filed34 and brought the claims into consonance with the restriction requirement. PTX

    6.332; 9/21 (Kunin) Tr. at 87:19-90:9 (Mr. Kunin explaining the patent prosecution history and

    when the patent applications were brought into consonance). Defendants take the position that the

    amount of time it took for Roche to amend the claims of the ‘182 Patent to bring them into

    consonance with the restriction requirement should result in invalidity of the patent, “because the

    applicants failed to maintain consonance throughout the prosecution of the ‘182 patent

    application.” (Df Of   ¶J 298-99).



       As discussed further below, the Court notes that Plaintiffs’ expert Mr. Kunin testified that he
    reviewed the prosecution history and prior to the amendment, there “was something like three
    years, in which the applicant submitted like six status requests because the Office hadn’t been
    working on them” and also “the ‘182 patent    .  was lost for a couple of years” by the USPTO.
                                                      .   .


    9/21 (Kunin)Tr. at 104:15-105:18.

                                                          65
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 66 of 85 PageID: 22178




           The USPTO allows application amendments at any time and does not provide temporal

    limits for the Safe Harbor provision to apply. See 35 U. S.C. § 121 (including no time limits as to

    when Safe Harbor applies, so long as “divisional application is filed before the issuance of the

    patent on the other application”); see also 9/21 Tr. (Kunin) at 90:22-91:5 (Mr. Kunin testifying

    that “[tJhere’s nothing in [the relevant section that] talks about time limits. So long as the applicant

    is still permitted to amend claims, then if the claims during that period prior to issuance are

    amended to bring them back into consonance, then the safe harbor will apply.”). Moreover, an

    inquiry into whether the Safe Harbor rule applies requires analysis of the issued claims.

    Boehringer Ingeiheim Int’l GmbH v. Barr Labs, Inc., 592 f.3d 1340, 1354 (fed. Cir. 2010)

    (explaining that, when doing a Safe Harbor analysis, the proper inquiry is on the issued claims).

    Defendants have not presented case law or trial testimony to indicate by clear and convincing

    evidence that the timing of the amendment or the content of pre-amendment application claims

    bear any legal significance. Based on its analysis of the issued claims, the Court concludes that

    the Safe Harbor provision protects the ‘182 Patent such that it cannot be invalidated for

    obviousness-type double patenting because the ‘182 Patent was (1) the result of a divisional

    application, (2) based on a restriction requirement issued by the USPTO, and (3) in consonance

    with that restriction requirement.

                               b) The Claims of the ‘279 Patent Are Fatentablv Distinct from the
                                  ‘182 Patent

           Even assuming the Safe Harbor provision did not protect the ‘182 Patent from invalidity

    based on obviousness-type double patenting, the Court nonetheless finds that the ‘182 Patent is

    patentably distinct from the ‘279 Patent and therefore not invalid for obviousness-type double

    patenting. To determine whether the claims are patentably distinct, the Court must compare the

    two patents at issue and decide whether the ‘182 Patent is an obvious modification of the earlier


                                                      66
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 67 of 85 PageID: 22179




    issued ‘279 Patent. If the later claim is an “obvious variant” or obvious modification of the earlier

    claim, according to a POSA, then the later claim is invalid for non-statutory double patenting. In

    re Basell Foliolefine Italia S.F.A., 547 F.3d at 1378-79. The Court concludes that the claims of

    the ‘182 Patent are patentably distinct from the ‘279 Patent for the reasons stated herein.

            The ‘279 Patent relates to an “invention [that] is concerned with non-soluble proteins and

    soluble or insoluble fragments thereof, which bind TNF, in homogenous form.” ‘279 Patent (JTX

    5) at “Abstract”. All claims of the ‘279 Patent relate to a p55 TNFR. Id. at col. 24:11-21. Claim

    1 is for a p55 TNFR and all of the remaining claims in the ‘279 Patent depend on Claim 1. Hence,

    the ‘279 Patent involves a p55 TNFR that is fused to an immunoglobulin. Id.

           In contrast, the ‘182 Patent claims, in part, an insoluble human TNFR that “has an apparent

    molecular weight of about 75 kilodaltons,” which specifically binds human TNF. ‘182 Patent

    (JTX-1) col. 39:18-19. Throughout Defendants’ contentions regarding the patent specification,

    Defendants acknowledge that p55 TNFR is distinct from p75 TNFR. DFOF                     ¶ 125.   During

    prosecution of the ‘279 Patent application, the USPTO required Roche to elect either the p55 or

    the p75, acknowledging that p55 and p75 were patentably distinct. JTX-9 at 11$ (“The proteins

    are unobvious in view of each other.   .
                                               . .“);   see also 9/21 (Kunin) Tr. at 83:5-84:19. Accordingly,

    the Court finds that there are significant distinctions between the ‘279 and ‘182 Patents such that

    the patents would not have been modifications obvious to a POSA in 1990. Therefore, the Court

    concludes that the ‘182 Patent is not invalid for obviousness-type double patenting based on the

    ‘279 Patent.

                           2.     The Patents-in-Suit Are Not Invalid over the ‘690 Patent and the
                                  Finck Patents

           Defendants argue that the Patents-in-Suit are obvious over Immunex’s ‘690 Patent and

   Immunex’s Finck Patents (consisting of the ‘225, ‘605, and ‘631 Patents) (collectively, the


                                                           67
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 68 of 85 PageID: 22180




    “Immunex Patents”). Defs. Br. at 6-20. However, common ownership is required for obviousness-

    type double patenting. In re Longi, 759 f.2d at 893-95. While Roche is the recorded owner of the

    Patents-in-Suit, Defendants contend that the 2004 Accord and Satisfaction was tantamount to an

    assignment to Immunex, making Immunex a common owner of the Patents-in-Suit and the

    Immunex Patents.     Defs. Br. at 6-15.     Specifically, Defendants claim that the Accord and

    Satisfaction transferred “all substantial rights” from Roche to Immunex, resulting in Immunex’s

    ownership of the Patents-in-Suit and an impermissible extension of Plaintiffs’ monopoly over

    etanercept. Id. at 7-14. Plaintiffs argue that the Accord and Satisfaction did not transfer ownership

    from Roche to Immunex, and instead granted a license. Pls. Br. at 41-47. Plaintiffs further aver

    that even if the Patents-in-Suit were commonly owned, Defendants have not met their burden to

    show that the Patents-in-Suit are patentably indistinct from the Immunex Patents. Id. at 47-50.

           The Court will first address the common ownership issue and then discuss the ‘690 Patent

    and the Finck Patents.

                               a) The Accord and Satisfaction Does Not Create Common Ownership

           In 1999, Immunex licensed Roche’s pending patent applications, which became the

    Patents-in-Suit, effective back to the FDA approval date of Enbrel® in 1998. PFOF ¶ 70. Under

    the license, Immunex was required to pay Roche “tens of millions of dollars.” Id. Non-party

    Amgen Inc. acquired Immunex in 2002. Id.        ¶   71. Later, Roche entered into the Accord and

    Satisfaction with Amgen Inc. and its affiliates, including Immunex, which was executed on June

    7, 2004. JTX-12; PFOF ¶ 71. Thereunder, Amgen Inc. and Immunex fully paid their outstanding

    royalty obligations to Roche and received an exclusive license to the Patents-in-Suit.35 PFOF      ¶


       At that time, the applications for the Patents-in-Suit were still pending and had not yet been
    issued.

                                                    68
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 69 of 85 PageID: 22181




     71. Immunex and Amgen Inc. received the following rights as they pertained to the eventual

     Patents-in-Suit and their then-pending applications: (1) an “irrevocable, exclusive license, with

    the sole right to grant sublicenses” of the Patents-in-Suit; (2) the exclusive right to practice under

    the Patents-in-Suit in North America; (3) the exclusive right to prosecute the Patents-in-Suit; (4)

    the right to select outside counsel for the prosecution of the Patents-in-Suit; (5) the first right to

    bring an infringement action in connection with the Patents-in-Suit; and (6) the right to retain all

    profits that result from any infringement litigation brought by Amgen Inc. or Immunex. JTX-12

    at 4-7   (   3.1-3.6). Roche retained the rights to (1) sue for infringement if Amgen Inc. does not,

    (2) choose its partners under the license agreement, and (3) use the inventions for non-clinical

    research. PFOF     ¶ 304-06; DFOF ¶ 53, 62.      The rights conferred by Roche through the Accord

    and Satisfaction were later consolidated in Immunex by a separate agreement, and Immunex

    “sublicensed exclusive rights related to Enbrel®’s commercialization to Amgen.”36 JTX-14; 9/24

    PM (Watt) Tr. at 28:20-29:8; JTX-15 at 3; PFOF ¶ 4-5.

             To use the Immunex Patents to invalidate the Patents-in-Suit, Immunex must first be a

    common owner to both sets of patents, in accordance with the obviousness-type double patenting

    doctrine. In re Longi, 759 F.2d at 892. Defendants’ argument of common ownership is that the

    2004 Accord and Satisfaction transferred “all substantial rights” from Roche to Amgen and

    Immunex and any rights that Roche did retain were illusory. Defs. Br. at 7-20; see also Speedplay,

    Inc. v. BeBop, Inc., 211 F.3d 1245, 1249-50 (Fed. Cir. 2000). Defendants therefore ask the Court

    to find first that the transfer of all substantial rights is the legal equivalent of common ownership,



    36
      While the Accord and Satisfaction was negotiated with non-party Amgen Inc., the rights were
   later consolidated in Immunex. JTX-14. For ease of reference the Court will refer to Immunex,
   which is a party to this action and currently retains the rights discussed in the Accord and
   Satisfaction.

                                                     69
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 70 of 85 PageID: 22182




    which is necessary for obviousness-type double patenting invalidation, and second that the Accord

    and Satisfaction transferred all substantial rights.

            Defendants’ cases in support of their common ownership argument all analyze indicia of

    common ownership for the purpose of determining whether a party had what is referred to as

    “prudential standing” to sue, and not ownership for the purpose of obviousness-type double

    patenting. See Diamond Coating Techs., LLC v. Hyundai Motor Am., 823 F.3d 615, 618-19 (Fed.

    Cir. 2016); Luminara Worldwide, LLC v. Liown Elecs. Co., 814 F.3d 1343, 1349-50 (Fed. Cir.

    2016); Speedplay, 211 F.3d at 1249-50; Vaupel Texttimaschinen KG v. Meccanica Euro Italia

    SPA, 944 F.2d 870, 875 (Fed. Cir. 1991); EMC Corp. v. Pure Storage, Inc., 165 F. Supp. 3d 170,

    178 (D. Del. 2016).     For example, although the Federal Circuit in Diamond Coating made

    observations about what constitutes ownership, Defendants correctly concede that the observations

    were made in the context of deciding whether the plaintiff had standing or the right to sue under

    the subject patent, which is not the question currently before this Court.    See Diamond Coating,

    823 F.3d at 617-19; see also Speedplay, 211 F.3d at 1250.

            Here, the matter is not within the “standing to sue” context, and thus the ownership caselaw

    presented by Defendants is not directly applicable. However, even assuming those cases apply,

    the Court finds that Roche remained the owner of the Patents-in-Suit because the Accord and

    Satisfaction did not confer all substantial rights on Immunex. First, the Court finds that the parties

    specifically intended for the Accord and Satisfaction to be a license such that Roche would remain



      Defendants have not cited to, nor has this Court found, any caselaw that has extended or applied
    the “all substantial rights” test to render a patent invalid pursuant to the obviousness-type double
    patenting doctrine. The purpose of the doctrine of obviousness-type double patenting is to prevent
    the same inventor andlor owner of an invention from extending their patent terms over the same
    invention or an obvious variant thereof. Gilead Scis., Inc. v. Natco Pharma Ltd., 753 F.3 d 1208,
    1212 (Fed. Cir. 2014) (“{T]he doctrine of double patenting was primarily designed to prevent...
    harm [to the public] by limiting a patentee to one patent term per invention or improvement.”).

                                                      70
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 71 of 85 PageID: 22183




    the owner of the Patents-in-Suit. “To determine whether an exclusive license is tantamount to an

    assignment, [the Court] ‘must ascertain the intention of the parties [to the license agreement] and

    examine the substance of what was granted.” Alfred F. Mann Found. For Sd. Research v.

    Cochlear Corp., 604 f.3d 1354, 1359 (fed. Cir. 2010) (quoting Mentor H/S, Inc. v. Med. Device

    Alt., Inc., 240 F.3d 1016, 1017 (fed. Cir. 2001)); see also AsymmetRx, Inc. v. Biocare Med., LLC,

    582 F.3d 1314, 1319 (Fed. Cir. 2009) (“To determine whether an assignment of patent rights was

    made, we must examine whether the agreement transferred all substantial rights to the patents and

    whether the surrounding circumstances indicated an intent to do so.”) (internal citations omitted)).

    A district court’s interpretation of a contract presents a question of law. Alfred F. Mann, 604 f.3d

    at 1359. To the extent that determining the intention of the parties to the license agreement requires

    evaluation of evidence outside of the contract, the district court’s evaluation presents a question of

    fact. Id.

            The evidence during trial demonstrated that the parties agreed to draft the Accord and

    Satisfaction as a license, and not an assignment of all rights. On the face of the Accord and

    Satisfaction itself, the transfer of rights in North America to Amgen is expressly called a

    “[l]icense,” in contrast to the transfer of rights outside of North America to non-party Wyeth By,

    which is expressly called an “[a]ssignment.” Compare JTX-12 at 4 (“Article 3 License to Arngen”

    granting “to Amgen and its Affiliates a paid-up, irrevocable, exclusive license, with the sole right

    to grant sublicenses”) with id. at 3 (“Article 2 Assignment to Wyeth By” stating Roche “hereby

    agrees to assign, and will cause its Affiliates to assign”). Under the Accord and Satisfaction with

    respect to the Patents-in-Suit in North America, Roche maintained a second right to sue for

    infringement, including a right to determine whether an assigmnent or sublicence would be granted

    to cure the infringement, and retained the right to practice the invention. PFOF ¶JJ 304-05; DFOF



                                                     71
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 72 of 85 PageID: 22184




    ¶ 53, 62.    In contrast, the Accord and Satisfaction expressly assigned to non-party Wyeth BV “all

    right, title and interest in and to” the Patents-in-Suit outside of North America and acknowledges

    that “Wyeth BV has succeeded to all of Roche’s and its Affiliates’ right, title, interest, benefit, and

    standing to receive all rights and benefits” pertaining to the Patents-in-Suit outside of North

    America. JTX-12 at 3-4.

              Moreover, the Court heard the testimony of Stuart Watt, Amgen’s Vice President of Law

    and Intellectual Property Officer, who engaged in negotiations with Roche on behalf of Immunex

    and Amgen. See 9/24 PM (Waft) Tr. at 20:21-23, 25:15-18. Watt credibly testified that it was

    more valuable to Immunex for Roche to remain as the owner of the Patents-in-Suit. See Id. at

    29:11-22. Waft stated that, based on his past litigation experience, it was important for Roche to

    have an obligation to participate in litigation as a party, rather than have the mere contractual duty,

    which could easily be breached.       Id. at 29:15-31:14.     The fact that the parties thoughtfully

    negotiated and ultimately agreed to draft the portion of the Accord and Satisfaction pertaining to

    North America and Amgen as a license presents strong evidence that the parties intended for the

    Accord and Satisfaction to be treated as a license, rather than an assignment.

              While Defendants believe the rights retained by Roche for the Patents-in-Suit in North

    America are “illusory” or insignificant, the Court disagrees. As explained at trial, Roche still

    possessed the power to bring a patent infringement action if the Immunex Plaintiffs failed to do

    so. See 9/24 PM (Waft) Tr. at 39:2-25. The Federal Circuit has found that a second right to sue is

    in fact a substantial right retained. Alfred E. Mann, 604 F.3d at 1361-62. According to the

    language of the Accord and Satisfaction, if Roche initiates a suit for infringement, the suit is solely

   within the control of Roche but Immunex has a duty to cooperate during the suit. See JTX- 12 at

    6   (   3.6). Importantly, while Immunex had the right to sublicense, Immunex could not end a



                                                      72
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 73 of 85 PageID: 22185




    Roche-initiated lawsuit by granting a sublicense on its own. See id. Moreover, Roche could veto

    the assignment of Immunex’s rights to a third party, which suggests that the parties envisioned the

    agreement to be a license. See id. at 14   ( 11.4). This scenario is distinguishable from a situation
    where the licensee can grant a license to end a licensor-initiated lawsuit. See, e.g., Speedplay, 211

    F.3d at 1251. Ultimately, Roche’s own enforcement capabilities, in the event Immunex chooses

    not to sue, are not nullified by Immunex’s separate right to sublicense.

            Furthermore, Roche maintained the right to practice the invention. JIX- 12 at 4         ( 3.2)
    (Roche “reserves for itself and its Affiliates the right to practice” the invention in North America

    “for internal, non-clinical research”). In AsymmetRx, Inc., the licensor also retained the right to

    practice the patents “for academic research” and the court noted that as one factor in finding that

    the licensor did not transfer all substantial rights. 582 F.3d at 1320 (considering the retained “right

    to make and use the [patented compound] for its own academic research purposes,” in ultimate

    conclusion that rights conveyed were a license). Because Roche retained not only a right to sue

    for infringement, but a right to veto assignments or sublicenses, and the right to practice the patent,

    the Court finds that Roche did not convey all substantial rights.

           In sum, should the “all substantial rights” test have a place in this case, Roche has

    nonetheless retained certain substantial rights and accordingly, ownership of the Patents-in-Suit

    did not transfer to Immunex. As stated above, common ownership or having at least one common

    inventor is a required element for the Patents-in-Suit to be invalid under the obviousness-type

    double patenting doctrine. In re Longi, 759 F.2d at 893-95. Hence, Defendants cannot establish

    common ownership and/or inventorship to support invalidity of the Patents-in-Suit pursuant to the

    doctrine of double patenting over the ‘690 and the Finck Patents based on Defendants’ all

    substantial rights argument.



                                                      73
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 74 of 85 PageID: 22186




                               b) The Claims of the Immunex Patents Are Patentably Distinct from
                                  the Patents-in-Suit

            Due to the Court’s finding of no common ownership, the remaining portions of this

    Opinion are not necessary to the Court’s ultimate conclusion on obviousness-type double

    patenting. Nevertheless, even assuming the Court had found common ownership, the Court fmds

    that the Immunex Patents (the ‘690 and Finck Patents) are patentably distinct from the Patents-in-

    Suit and therefore the Patents-in-Suit are not invalid. According to the law of double patenting,

    the Court must first ask: “[i]s the same invention being claimed twice?” Gen. Foods Corp.         V.


    Studiengesellschaft Kohie mbH, 972 F.2d 1272, 1278 (Fed. Cir. 1992) (citing In re Vogel, 422

    F.2d 438, 442 (C.C.P.A. 1970)). If the answer to the first question is no, then the Court must ask:

    “[dJoes any claim in the application define merely an obvious variation of an invention claimed in

    the patent asserted as supporting doubLe patenting?” Id. If the answer to that question is no, there

    is no double patenting. Id. That is, if the claim at issue ‘defines more than an obvious variation,

    it ispatentably distinct” and any double patenting argument would fail. Id. When conducting this

    analysis, the claims must be read as a whole. Id.

           When construing a claim in an earlier patent against a claim in a later patent, the Court

    needs to determine whether the differences in subject matter between the two claims render the

    claims patentably distinct. Eli Lilly & Co., 251 F.3d at 968 (citing Ga.-Pac. Corp., 195 F.3d at

    1326). If, according to a POSA, the later claim is an obvious modification of the earlier claim,

   then the later claim is invalid for non-statutory double patenting. In re Basell Foliotefine Italia

   S.P.A., 547 F.3d at 1378-79.

           The Court will first address Defendants’ claims as to the ‘690 Patent, and then will examine

   the claims regarding the Finck Patents.




                                                    74
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 75 of 85 PageID: 22187




                                      i.   The ‘690 Patent Is Patentabty Distinctfrom the Patents-in-
                                           Suit

            The ‘690 Patent, entitled “Methods of Lowering Active Thf-c Levels in Mammals Using

    TumorNecrosis factor Receptor,” issued on February 25, 1997 and expired on February 25, 2014.

    ‘690 Patent (JTX-42); DFOF     ¶ 97. There is no dispute that Tmmunex is the proper owner of the
    ‘690 Patent. ECF No. 688 at 36 ¶J 147-48. The parties dispute whether the asserted claims from

    the Patents-in-Suit are invalid in view of Claim 3 of the ‘690 Patent. Primarily, the parties dispute

    the meaning of the term “fused to the constant domain of an immunoglobulin” contained in the

    ‘690 Patent. Defendants argue that the ‘690 Patent’s claim scope includes etanercept because the

    claimed chimeric antibody could have been fused to an immunoglobulin in the same way described

    in the Patents-in-Suit. Defs. Br. at 17. Plaintiffs disagree and state that the Patents-in-Suit do not

    cover the fusion of a TNFR to “the constant domain of an immunoglobulin” because etanercept’s

    construction requires the removal of a portion of the constant domain, namely CH 1 and the light

    chain of the IgGi immunoglobulin. Pls. Br. at 48. In the alternative, Defendants assert that even

    if the claim is not construed to cover etanercept exactly, the prior art would have led a POSA to

    modify the claimed protein to create etanercept. Defs. Br. at 15. By contrast, Plaintiffs contend

    that Claim 3 of the ‘690 Patent does not include etanercept and therefore the inventions claimed

    in the Patents-in-Suit are patentably distinct. PIs. Br. at 48. The Court finds that Defendants have

   not demonstrated by clear and convincing evidence that the claims in the ‘690 Patent are patentably

   indistinct from the claims in the Patents-in-Suit—the ‘182 and ‘522 Patents.




                                                     75
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 76 of 85 PageID: 22188




            Claim 3 of the ‘690 Patent is directed to “a method for lowering the levels of active TNF

    a.” by using a chimeric antibody38 consisting of”a TNf receptor comprising the sequence of amino

    acids 3-163 of SEQ ID NO:1 fused to the constant domain of an immunoglobulin molecule.” ‘690

    Patent (JTX-42) coY. 33:66-34:54. In other words, Claim 3 “requires that the p75 TNF receptor

    has to be fused to the constant domain of an immunoglobulin molecule” which “would include

    CH1, the hinge, CR2, CR3 and the constant region on the variable region.” 9/12 PM (Blobel) Tr.

    at 69:15-18, 70:2-7. Tn fact, the specification of the ‘690 Patent describes a chimeric antibody as

    a molecule “having TNFR sequences substituted for the variable domains of either or both of the

    immunoglobulin heavy and light chains and having unmodjfled constant region domains.” ‘690

    Patent (JTX-42) coY. 7:42-46 (emphasis added).

           In comparison, the Patents-in-Suit claim a fusion protein with “all of the domains of the

    constant region of a human immunoglobulin IgG heavy chain other than the first domain ofsaid

    constant region” (‘182 Patent (JTX- 1) col. 39:13-25) (emphasis added) and methods of making it

    (‘522 Patent (JTX-2)). Critically, both the ‘182 and the ‘522 Patents exclude the Cli and the light

    chain of the IgG 1 immunoglobulin. See ‘182 Patent (JTX- 1) col. 39:13-25; ‘522 Patent (JTX-2)

    coY. 46:59-47:3. The Patents-in-Suit cover the fusion of p75 to the hinge-CH2-CH3 of the constant

    domain ofIgGi. Id.

           Therefore, the Court fmds that the chimeric antibody of the ‘690 Patent could not have

   been etanercept because the constant region domains include CH 1. In other words, the ‘690 Patent

   requires the use of the CH1 domain and light chain of the IgGl, while the Patents-in-Suit

   specifically require the removal of both of these items. Compare ‘690 Patent (JTX-42) col. 33:66-


   38
     As defined in the ‘690 Patent, a chimeric antibody is a “molecule having TNFR sequences
   substituted for the variable domains of either or both of the immunoglobulin heavy and light chains
   and having unmodified constant region domains.” 9/12 (Blobel) AM Tr. at 24:9-18.

                                                    76
Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 77 of 85 PageID: 22189




    34:54 with ‘182 Patent (JTX-1) col. 39:46-49 and ‘522 Patent (JTX-2) col. 45:57-60. Thus, the

    Patents-in-Suit are patentably distinct from the ‘690 Patent.

           Lastly, Defendants argue that even if Claim 3 of the ‘690 Patent was strictly construed to

    include the complete constant domain for the light chain and the heavy chains, etanercept only

    differs in the removal of the light chain and the CR1 domain from the IgG 1, which would have

    been obvious to a POSA. Defs. Br. at 15. However, as the Court previously stated above, it would

    not have been obvious to a POSA to modify the constant region domain in this way and combine

    it with a p75 TNFR. See supra III.B.

           For these reasons, the Court fmds that Defendants have failed to prove by clear and

    convincing evidence that the Patents-in-Suit are invalid in light of the ‘690 Patent based on

    obviousness type double patenting.

                                    ii.    The Patents-in-Suit Are Not Invalid In View of the Finck
                                           Patents

           The patents referred to collectively as the Finck Patents are comprised of the following

    three patents: (1) the ‘225 Patent entitled “Soluble Tumor Necrosis factor Receptor Treatment of

    Medical Disorders,” issued on March 29, 2011; (2) the ‘605 Patent entitled “Soluble Tumor

    Necrosis Factor Receptor Treatment of Medical Disorders,” issued on february 21, 2012; and (3)

    the ‘631 Patent entitled “Soluble Tumor Necrosis Factor Receptor Treatment of Medical

    Disorders,” issued on May 13, 2014. JTX-39 (“225 Patent”); JTX-40 (“605 Patent”); JTX-41

    (“631 Patent”). The Finck Patents will expire on August 13, 2019 and there is no dispute that

    Immunex is the proper owner.39        Defendants claim that the Patents-in-Suit are invalid for

    obviousness-type double patenting in view of the Finck patents. Defs. Br. at 14-15. The parties



     The Finek Patents expire on the same day because each is subject to a terminal disclaimer
   pursuant to 37 CFR § 1.32 1.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 78 of 85 PageID: 22190




    disagree as to whether the one-way test or two-way test shall be used to compare the Finck Patents

    and the Patents-in-Suit.40 Part of that issue is a question of how and to what extent the amendments

    to the General Agreement on Tariffs and Trade (“GATT”) impact an obviousness-type double

    patenting analysis.4’ Next, the parties disagree as to whether the Patents-in-Suit are patentably

    distinct from the finck Patents. These arguments will be addressed in turn.

                                           a. The Two-Way Test Shall Apply to Analysis of the
                                              Finck Patents

            Invalidity for obviousness-type double patenting is a question of law based on underlying

    factual inquiries. See Eli Lilly & Co. v. Teva Parenterat Meds., Inc., 689 F.3d 1368, 1376 (Fed.

    Cir. 2012). Under the “one-way” test, the court determines whether the asserted patent claim is

    patentably distinct from—i.e., obvious over or anticipated by—the reference patent claim. See In

    re Berg, 140 F.3d 1428, 1432 (Fed. Cir. 1998). For purposes of the two-way analysis, “the order

    of issuance is, in effect ignored, and the relevant determination becomes whether the improvement

    is patentably distinct from the generic invention.” In re Braat, 937 F.2d 589, 593-94 (fed. Cir.

    1991); see also In re Hubbell, 709 f.3d 1140, 1149 (Fed. Cir. 2013). The two-way test is a “narrow

    exception to the general rule of the one-way test” and is only applied when “(1) a second-filed

    application issues prior to a first-filed application, and (2) ‘the [US]PTO is solely responsible for



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       Plaintiffs alternatively argue that even under the one-way test, Defendants have failed to prove
    by clear and convincing evidence that any claims in the Patents-in-Suit are invalid for obviousness-
    type double patenting over the Finck Patents. PFOf ¶ 325. Plaintiffs contend that even if the
    Finck Patents were proper obviousness-type double patenting references, their claims could not
    have been rendered invalid given that the Finck Patents’ claims are directed to a method of
    treatment with etanercept whereas the claims of the Patents-in-Suit are directed to a compound
    and the method of composition. Pls. Br. at 49. The facts on patentable distinctness, discussed
    infra, may be considered in accordance with either test.
   41
      The Uruguay Round Agreements Act was enacted on December 8, 1994. See Pub. L. No. 103-
    465, 108 Stat. 4809. This Act implemented various agreements during the Uruguay Round of
    General Agreement on Tariffs and Trade. Id. The Act is commonly referred to as “GATT.”

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 79 of 85 PageID: 22191




    the delay’ in the issuance of the first-filed application.” In re Janssen Biotech, Inc., 880 F.3d 1315,

    1325 (Fed. Cir. 201$); see also Smith & Nephew, Inc. v. Arthrex, Inc., 355 F. App’x 384, 388 n.4

    (Fed. Cir. 2009).

           The two-way test arose to “prevent rejections for obviousness-type double patenting when

    the applicants filed first for a basic invention and later for an improvement, but, through no fault

    of the applicants, the {US]PTO decided the applications in the reverse order of filing.” In re

    Hubbell, 709 F.3d at 1149 (quoting In re Berg, 140 F.3d at 1432). “The two-way exception can

    only apply when the applicant could not avoid separate filings, and even then, only if the [US]PTO

    controlled the rates of prosecution to cause the later filed species claims to issue before the claims

    for a genus in an earlier application.” In re Berg, 140 F.3d at 1435. Whether the one-way or two-

    way test applies is a question of law, but the determination can be based on underlying factual

    findings.42 See In re Emert, 124 F.3d 1458, 1460 (Fed. Cir. 1997).

           The applications for the Patents-in-Suit were both filed in May 1995, however the ‘182

    Patent issued in November 2011, and the ‘522 Patent issued in April 2012. The Finck Patent

    applications, which describe a method of treating psoriasis and psoriatic conditions, were filed

    four years after the applications for the Patents-in-Suit, in August 1999. However, the ‘225 Finck

   Patent issued in March 2011 prior to the issuance of the Patents-in-Suit, the ‘605 Finck Patent

   issued in February 2012, after the ‘182 Patent but prior to the ‘522 Patent, and the ‘631 Finck

   Patent issued in May 2014, after the Patents-in-Suit. As the Court has already determined that the

   Patents-in-Suit and Finck Patents lack the requisite common ownership for an obviousness-type



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      The Court notes that the Finck Patents are the only patents as to which a two-way test argument
   has been made. The other patents analyzed for obviousness-type double patenting were all earlier-
   filed and earlier-issued compared to the Patents-in-Suit and therefore were evaluated under a one-
   way test.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 80 of 85 PageID: 22192




    double patenting analysis, the Court need not look any further to address the issue of patentable

    distinctness.   Nevertheless, the Court has reviewed the evidence presented at trial and the

    prosecution file history and determines that if common ownership existed, the two-way test should

    apply.

             At trial, Plaintiffs’ expert Mr. Kunin reviewed the prosecution history for the Patents-in-

    Suit and testified that there was a period of “something like three years” where Roche submitted

    “six status requests because the Office hadn’t been working” on the applications for the Patents-

    in-Suit. 9/21 (Kunin) Tr. at 104:21-105:1; see also JTX-4 at 354-55. He later testified that the

    application for the “182 Patent.    .   .       was lost for a couple of years” by the USPTO. 9/21 (Kunin)

    Tr. at 105:2-18. Then, in August 2010, a Director at the relevant USPTO Technology Center sent

    a letter to Plaintiffs’ legal representative acknowledging that a petition decision mailed in August

    2007 “relied upon an image file wrapper which mistakenly contained papers from an unrelated

    application.” JTX-4 at 4239. The letter additionally acknowledged that “only one substantive

    office action has been set forth in the last five years” and therefore “the Examiner has been advised

    to treat this application as special and expedite its prosecution to conclusion.” Id. at 4240. further,

    the applications for the Patents-in-Suit faced several rejections from the patent examiners, which

    ultimately were found to be unjustified and reversed by the BPAI on appeal. See BPAI Opinion,

    PTX-6.456 (reversing all of the Examiner’s rejections, and finding Plaintiffs’ “evidence                    .   .




    convincing to rebut the Examiner’s          .   .   .   rejection” as well as stating the BPAI was “persuaded by

    Appellants’ argument”); PFOF     ¶J 32 1-22. While Plaintiffs did make several proper requests for
    extensions, the Court finds that, to the extent the earlier-filed Patents-in-Suit were issued after the

    later-filed Finck Patents, as a matter of fact the U$PTO was solely responsible for the delay that

   resulted. See PFOF    ¶ 321-25. The Court additionally finds that, based on the record presented,


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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 81 of 85 PageID: 22193




    Plaintiffs acted in good faith to diligently prosecute the Patents-in-Suit. Therefore, the Court will

    apply the two-way test.

                                            b. Impact of GATT on the Patents-in-Suit

            The parties also disagree about the impact of GATT on the obviousness-type double

    patenting analysis. In particular, the parties argue as to whether an earlier-expiring post-GAIT

    patent can cut short the statutory term of a pre-GATT later-expiring patent. Pis. Br. at 47-48; Defs.

    Reply Br. at 9-10. Among other things, GATT changed the term of a patent and how to calculate

    its expiration. SeeAvanirFharms., Inc. v. Actavis S. Ati. LLC, 987 F. Supp. 2d 504, 516 n.20 (D.

    Del. 2013). Prior to GAIT, “[p]atents claiming priority to applications filed before June 8, 1995,

        have a patent term which is the greater of 20 years from the date of the filing of the application

    or 17 years from the date of the grant of the patent, subject to any terminal disclaimers.” Id.

    (citing 35 U.S.C.   § 1 54(a)(2)) (emphasis in original). However, due to the GAIT amendment,
    “{p]atents that issued from applications filed after June 8, 1995 receive a 20-year term” from the

    effective filing date. Id. (citing 35 U.S.C.   § 154(a)(2)) (emphasis in original).
           Here, the applications for the Patents-in-Suit were filed pre-GArF in May 1995, and

    therefore were granted a patent term of seventeen years from the date of issuance (from November

    2011 until November 2028 for the ‘182 Patent and from April 2012 to April 2029 for the ‘522

    Patent). The Finck Patents, however, were filed post-GATI’, and therefore will expire in August

    2019, twenty years from the earliest effective filing date of August 1999 for the applications.

    Defendants’ arguments focus on Claim 1 and the term TNFR:fc in the F inck Patents, which is

    identical in each Finck Patent. Based on the times of filing, issuance, and expiration, at least one

    Finck Patent would properly serve as a reference patent for the Patents-in-Suit for an obviousness




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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 82 of 85 PageID: 22194




    type double patenting analysis, which is all that is needed because the claim terms at issue in the

    Finck Patents are identical in each one.43

            Next, because obviousness-type double patenting is “intended to address unjitstflabte

    extensions of patent terms,” a post-GAiT later-granted and earlier-expiring patent cannot cut short

    the term of a pre-GATT “valid, earlier-granted patent with a longer term.” Abbott Labs.                V.   Lupin

    Ltd., No. 09-152, 2011 WL 1897322, at *9.40 (D. Del. May 19, 2011) (citing Brigham & Women’s

    Hosp. Inc. v. Teva Pharms. USA Inc., 2011 WL 63895 (D. Del. Jan. 7, 2011). Here as in Abbott,

    an act of Congress, rather than “improper gamesmanship by the patentee” or “strategic abuse of
     05119135                                                04124112                                      04124/29
    Patents-in-                                             522 Patent                                   ‘522 Patent
    Suit Filed                                                Issued                                        Expires
                                                   11122111                                        11122128
                                                 ‘182 Patent                                     ‘182 Patent
                                                    Issued                                          Expires




         06/08195                         03129111                   05/13/14
          GAff                           Finck ‘225                 Finck ‘631
         Amended        08113199           Issued                     Issued       08113/19
                     Finck Patents                     02I21I12                  Finck Patents
                        Effective                     Finck ‘605                     Expire
                       Filing Date                      Issued


    “
       An obviousness-type double patenting analysis requires a comparison between the earlier patent,
    referred to as the reference patent, and the later patent. See Eli Lilly & Co., 251 f.3d at 968. For
    patent applications filed pre-GATT, the issuing date is used to ascertain which patent was earlier
    and which was later. Gitead, 753 F.3d at 1214-15 (Fed. Cir. 2014). For applications filed post-
    GAIT, however, the patent expiration date determines the earlier and later patents. Id. at 1216.
    In the instant matter, because the validity challenge is to the Patents-in-Suit, which are not subject
    to GATT, the issuance date should determine the reference patent. See Id. at 1214-15 (finding that
    issuing date is used in an obviousness-type double patenting analysis for patents to which GATT
    does not apply). Looking to the issuance dates, the ‘225 Finck Patent is the only one which issued
    prior to both of the Patents-in-Suit and therefore is the only Finck Patent which could be properly
    considered an “earlier patent” for an obviousness-type double patenting analysis. The Court notes
    that alternatively looking to expiration date, all of the Finck Patents could serve as reference
    patents because they expire prior to the Patents-in-Suit, and therefore under either analysis at least
    one Finck Patent properly serves as the reference patent.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 83 of 85 PageID: 22195




    the patent system[,J” led to the Patents-in-Suit having a longer patent term and the expiration date

    for the Patents-in-Suit is “the same as it would have been had the [F inck Patents] never issued.”

    Id. The Court therefore fmds that the statutory term for the Patents-in-Suit may not be cut short to

    mirror the statutory term for the Finck Patents.

                                           c. The Finck Patents Are Patentably Distinct from the
                                              Patents-in-Suit

           At issue here is the patentable distinctness of Claims 11 and 35 of the ‘182 Patent and

    Claims 3 and 8 of the ‘522 Patent in comparison to Claim 1 of the Finck Patents in light of the

    definition of etanercept in the Finck specification. DFOF     ¶J 92-95. The Patents-in-Suit claim
    etanercept itself and the method of making it. See generally ‘182 Patent (JTX-1); ‘522 Patent

    (JTX-2).   In contrast, the Finck Patents cover a method of treating psoriasis and psoriatic

    conditions with etanercept. See, e.g., ‘225 Patent (JTX-39) col. 21:33-36. for example, Claim 1

    of the ‘225 Finck Patent claims “a method for treating a patient having psoriasis comprising

    administering to the patient a therapeutically effective dose of TNfR:Fc [i.e. etanercept], wherein

    the patient attains at least fifty percent improvement in PASI score.” See, e.g., id.

           The Court first notes that a biologic manufacturer “may hold multiple patents covering the

    biologic, its therapeutic uses, and the processes used to manufacture it.” Sandoz, 137 5. Ct. at

    1670. Here, the ‘182 Patent claims the compound etanercept, the ‘522 Patent claims a process

    used to manufacture etanercept, and the Finck Patents claim a therapeutic use of treating psoriasis

    and psoriatic variants using etanercept. In support of their argument that the Finck Patents and the

    Patents-in-Suit are not patentably distinct, Defendants cite to Geneva Pharm., Inc. v.

    Glaxo$mithKline PLC, 349 F.3d 1373 (Fed. Cir. 2003), wherein the court found that a claimed

    compound for which a POSA “would recognize a single use” was not distinct from a patent that

    “simply claims that use as a method.” See Id. at 1385-86; see also Asteltas Pharma, Inc. v.


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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 84 of 85 PageID: 22196




    Ranbaxy Inc., No. 05-2563, 2007 WL 576341, at *6 (D.N.J. Feb. 21, 2007). In that case, however,

    the court determined that the claimed use of the compound was not only an inherent property of

    the compound but its sole use. Geneva Pharm., 349 F.3d at 1385. Geneva is distinguishable from

    the instant case because, while the Finck Patents use etanercept for the treatment of psoriasis and

    related conditions, psoriasis treatment is neither an inherent property nor the sole use of

    etanercept.44 See PFOF ¶ 316; cf Geneva Pharm., 349 F.3d at 1385.

            Plaintiffs contend that practicing the claimed invention of the Patents-in-Suit to make

    etanercept would not result in the practice of the Finck Patents, because merely making etanercept

    would not result in treating psoriasis. See PFOF      ¶   316. Reviewing the Finck Patents and the

    Patents-in-Suit, the treatment methods for psoriasis and psoñatic conditions contained in the Finck

    Patents are not found in the Patents-in-Suit. Therefore, based on the Court’s analysis, the Finck

    Patents’ claim to a psoriasis treatment method using etanercept cannot be used to invalidate the

    Patents-in-Suit. See In re Braat, 937 f.2d at 593-94. Furthermore, the Finck Patents and the

    Patents-in-Suit could not have been combined into a single application because they do not share

    common owners. See supra III.C.2.a. Accordingly, the Court finds that Defendants have not

    demonstrated by clear and convincing evidence that the Patents-in-Suit are invalid for obviousness

    type double patenting.




       Furthermore, Plaintiffs argue that etanercept can be made using methods other than the one
    detailed in the ‘522 Patent, namely “by using a host cell” other than the type specified in the patent
    and therefore the finck Patents’ treatment method could be accomplished without infringing on
    the ‘522 Patent. See PFOF ¶ 316.

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Case 2:16-cv-01118-CCC-MF Document 689 Filed 08/09/19 Page 85 of 85 PageID: 22197




       IV.       CONCLUSION

             For the foregoing reasons, the Court finds that Defendants have failed to show by clear and

    convincing evidence that the Patents-in-Suit are invalid. An appropriate Order accompanies this

    Opinion.



    Dated: August 9, 2019


                                                                  HON. CLAIRE C. CECCHI
                                                                  United States District Judge




                                                    85
